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                                                             NOVEMBER 2019




                                    THE
                                    DEMOCRACY
                                    PLAYBOOK:
                                    Preventing
                                    and Reversing
                                    Democratic
                                    Backsliding
                                    Norman Eisen,
                                    Andrew Kenealy,
                                    Susan Corke,
                                    Torrey Taussig, and
                                    Alina Polyakova
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                                THE DEMOCRACY PLAYBOOK:
Protesters take part in a
demonstration outside the       Preventing and Reversing
                                Democratic Backsliding
in Valletta, Malta.




                            Norman Eisen, Andrew Kenealy, Susan Corke,
                            Torrey Taussig, and Alina Polyakova




                            Executive Summary
                            The Democracy Playbook sets forth strategies and actions that supporters of liberal democracy
                            can implement to halt and reverse democratic backsliding and make democratic institutions
                            work more effectively for citizens. The strategies are deeply rooted in the evidence: what
                            the scholarship and practice of democracy teach us about what does and does not work.



                            playbook is organized into two principal sections: one dealing with actions that domestic
                            actors can take within democracies, including retrenching ones, and the second section
                            addressing the role of international actors in supporting and empowering pro-democracy
                            actors on the ground. Those recommendations are summarized here.



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Section 1: Domestic actors
1. GOVERNMENT AND POLITICAL PARTY LEADERS SHOULD:
    (Pages 12–18)

• Be prepared for and invest in protecting against internal and external interference in elections.

• Enact policies that promote and protect broad access to the vote, such as automatic or
  same-day voter registration.

• Regulate the role of money in politics to retain trust in the democratic system.

• Uphold institutional obligations and use their political power with restraint–but when
  norms break down, further legal mechanisms should be considered.

• Defend the independence of the judiciary by establishing public procedures for the
  selection and retention of judges.

• Implement judicial transparency mechanisms.


2. POLITICAL OPPOSITION GROUPS SHOULD:
    (Pages 19–25)

• Form networks between other opposition groups, local electoral activists, civil society
  groups, and, where appropriate, international organizations and actors.

•
    an alternative.

• Increase election monitoring capacity and be prepared to use electoral abuse evidence
  as the basis for reform advocacy.

• Engage new voters by presenting a positive and inclusive vision for the future—not only
  attacks on illiberalism.

• Forcefully contest each individual illiberal act of non-democratic actors, calibrating the
  strength of the remedy to the severity of the threat.


3. CIVIL SOCIETY AND INDEPENDENT MEDIA SHOULD:
    (Pages 26–35)

Civil society should:

• Seek broad, diverse, and large-scale participation in their activities.

• Model organizationally what they seek to achieve in a democracy.

•

• Be prepared to use diverse and varied nonviolent tactics to increase the pressure on
  government and attract more people to participate.



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                      Independent media should focus their efforts on four key areas:

                      • Occupational development and education.

                      • Professional associations to enable and support individual journalists on a range of issues.

                      • Media self-scrutiny and development of a robust media criticism community.

                      • Better internal governance of media outlets.


                      4. THE PRIVATE SECTOR SHOULD:
                        (Pages 36–41)

                      • Resist corruption, co-optation, and state capture.

                      • Aim to do well by doing good, including through activism, philanthropy, and
                        corporate social responsibility.

                      • Recognize the key role of social media companies, who should:

                        • Prioritize digital media literacy.

                        • Quickly remove material that violates the law and their codes of conduct policies.

                        • Support narrowly tailored government regulations that do not infringe on users’
                          rights to free speech.

                        • Intensify cooperation with other platforms to share best practices.




                      Section 2: International actors
                      1. INTERNATIONAL ACTORS SHOULD PARTNER WITH DOMESTIC
                         CSOs AND NGOs BY:
                        (Pages 44–51)

                      • Going local—enhancing collaboration with local NGOs to balance external support to
                        more well-known and Westernized organizations.

                      • Building basic capacities of NGOs—especially local ones.

                      • Coordinating donor support to avoid overwhelming recipient organization bandwidth.

                      • Responding vigorously to government attacks on NGOs.

                      • Empowering nontraditional actors in addition to NGOs, such as businesses, individuals,
                        universities, student groups, and think tanks.

                      • Developing domestic sources of funding and philanthropy, particularly in countries that
                        are at risk of democratic backsliding.




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2. INTERNATIONAL ACTORS SHOULD ASSIST DOMESTIC CIVIL RESISTANCE
   AND NONVIOLENT MOVEMENTS BY:
  (Pages 52–58)

• Developing clear criteria for providing support.

• Thinking long-term.

• Establishing the local context.

• Promoting domestic ownership of the issues at the national and local level.

• Focusing on training and skills development across civil resistance and
  movement organizing.

• Helping to boost the efforts of independent media.


3. INTERNATIONAL ACTORS SHOULD HELP COUNTER DISINFORMATION BY:
  (Pages 59–61)

• Supporting independent media organizations and CSOs working to expose
  disinformation campaigns.

• Investing in and expanding organizational capabilities for monitoring disinformation
  campaigns emanating from foreign actors.

• Enhancing communication between democratic governance and social media companies.

• Advancing pro-democracy messaging.


4. FOREIGN GOVERNMENTS AND INSTITUTIONS SHOULD PROMOTE
   DEMOCRACY BY:
  (Pages 62–69)

• Leveraging EU structural funds.

• Enhancing support for civil society and the independent media.

• Encouraging NGO-Government relations, when possible.

• Prioritizing governance and democracy issues.

• Advancing institutional channels.




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                      Introduction
                      AN ERA OF AUTHORITARIAN RESURGENCE
                      Democracies around the world are under stress, their institutions and norms undermined by
                      illiberal actors and their vulnerabilities exploited by external forces bent on weakening democ-
                      racy’s appeal. Prominent illustrations include Turkey’s descent into authoritarianism, Poland
                      and Hungary’s illiberal turns, Russia’s electoral interference in states across the transatlantic
                      community and, of course, events in the United States. Alongside such headline capturing
                      developments, there has also been a longer-term erosion of citizen trust in democratic insti-

                      subtle—have emerged across regions in both transitioning and consolidated democracies.

                      Global democracy indices assert that the world has entered a new wave of autocratization.1
                      In 2019, Freedom House recorded its 13th consecutive year of net decline in political rights
                      and civil liberties.2 In this time, one in six democracies around the world has failed.3 In 2019,
                      the Varieties of Democracy Project (V-Dem), the world’s largest database on democratic
                      indicators, reported that democratic declines now affect more countries than ever before.4
                      While the majority of countries in the world remain democratic, almost one-third of the world’s
                      population lives in countries undergoing democratic decline.5 Unlike previous waves of auto-
                      cratization, this current retrenchment mainly affects democracies and is occurring through
                      legal transfers of power.6

                      European states—the primary focus of this report—are not immune to these realities. Across
                      the continent, illiberal parties have gained support among citizens who see their governments
                      as unable to meet their economic and security needs, nor adequately addressing concerns
                      associated with migration and globalization. Countries in Central and Eastern Europe that

                      experiencing a crisis of illiberalism that is weakening the rule of law, the separation of powers,
                      and the integrity of elections. In older and more entrenched democracies in Western Europe,
                      societies and governments are grappling with how to handle powerful populist and nationalist
                      movements that exude illiberal tendencies.

                      Champions of the democratic openings across Central and Eastern Europe in the wake of
                      the Cold War are also weakening in their support and standard setting behavior. In the 1990s
                      and early 2000s, the United States and major Western European powers more consistently
                      prioritized and invested in policies of democracy promotion and expansion. Now their inability
                      or unwillingness to uphold democratic norms and institutions internally further complicates
                      democracy-promotion efforts. This shift is giving authoritarian regimes, including Russia

                      democratic states.




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THE ANATOMY OF ILLIBERAL STATES
Democratic setbacks in Europe today are not driven by overt coup d’états or forceful authori-
tarian takeovers. Rather, backsliding is occurring through incremental steps and often under
a legal façade.7 It is implemented by illiberal political parties and leaders that have come to
power through relatively democratic and electoral processes. Bastions of support for such
movements tend to come from rural communities outside national capitals and metropolitan
areas and from segments of society that feel left behind by out-of-touch elites.

Once in power, illiberal governments capitalize on popular support
to deploy a discernible toolkit and a loosely predictable sequence          This playbook highlights
to chip away at democracy and build an illiberal state. As argued in
a related Brookings report, The Anatomy of Illiberal States, “Liberal
                                                                            strategies and tactics for
principles—political ideas that espouse the importance of individual        pro-democracy actors to
liberties, minority rights, and the separation of power across levers of    not only push back against
government—and democratic institutions—processes that translate
popular will into public policy through legitimate elections—are being      illiberal and authoritarian-
pulled apart.”8 At times, their efforts extend beyond attacks on liberal    leaning actors, but also
principles to include delegitimizing political opposition, diminishing
fundamental political rights to free speech, assembly and media plural-
                                                                            to renew the promise and
ism, and clamping down on civil society—all of which are indispensable      resiliency of democratic
for a functioning democracy.
                                                                            institutions.

A WINDOW OF OPPORTUNITY
The emergence of self-styled illiberal states across Europe presents a challenge to Western
collective action in an era of authoritarian resurgence. Far-right populist parties, many with
illiberal tendencies, have gained a toehold or the majority in 23 of 28 EU member states’ par-
liamentary systems. 9 But, these systems still have democratic institutions and robust civil
societies, albeit under pressure, that provide avenues for responding. The level of free and
fair competition for political power varies across nations, as does the space for free speech
and assembly, the rule of law, transparency, and government accountability.10 The ability of
political opposition and civil society to operate gives pro-democracy actors an urgent window
of opportunity to push back on illiberal activity before it becomes further entrenched, and in



To resist the illiberal toolkit, pro-democracy forces must be empowered with a dynamic
playbook of their own. Old tools of democracy support must be adapted to current realities
in which citizens now have less trust in mainstream political actors and the media. While
democracy as a system of governance maintains widespread appeal, there has been a gap

as an opportunity to gain support11 that will continue as long as citizens remain disillusioned
with democracy.




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                    Moving forward, democracy must be shown to work. This playbook highlights strategies
                    and tactics for pro-democracy actors to not only push back against illiberal and authoritar-
                    ian-leaning actors, but also to renew the promise and resiliency of democratic institutions.
                    To demonstrate that democracy is the best system to meet citizens’ needs, supporters will
                    have to revitalize the economic, political, and social pillars that undergird democracy, which
                    have, in many nations, fallen into disrepair.



                    A NEW DEMOCRACY PLAYBOOK
                    The far-reaching consequences of a decade-long run of authoritarian resurgence makes
                    renewing and reenergizing liberal democracy in the trans-Atlantic space all the more necessary.
                    As part of this effort, our report provides strategic insights from social science and historical
                    and contemporary case studies that shed light on how to push back on illiberal forces and
                    strengthen the pillars of liberal democracy. In section 1, we provide a set of insights—drawn
                    from the United States and Europe—to help inform and strengthen the strategies of domestic
                    democratic actors such as:

                    • The incumbent political establishment;

                    • The political opposition;

                    • Civil society and independent media; and

                    • Private enterprise—including social media enterprises—and ordinary citizens.

                    Section 2 discusses the indirect role of international institutions and organizations in sup-
                    porting pro-democracy forces, empowering local actors, and advancing democratic reforms.
                    This report highlights efforts including:

                    • Partnering with domestic NGOs;

                    • Assisting civil resistance and nonviolent movements;

                    • Countering disinformation campaigns; and

                    • Providing foreign government and institutional support.

                    We begin each subsection with a summary of its contents. We conclude each subsection
                    with recommendations for further reading on the corresponding topic.

                    To be clear, no single strategy is a silver bullet to the illiberal challenges at hand; context
                    powerfully shapes the outcomes of particular pro-democracy strategies and tactics. But we
                    believe that it is possible to distill useful strategic frameworks, principles, and lessons learned

                    as they contest and resist the illiberal toolkit.




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     SECTION 1:
     Domestic actors
                                                                                                      People attend a protest
     By Norman Eisen, Andrew Kenealy, and Susan Corke
                                                                                                      Prime Minister Viktor Orbán
                                                                                                      in Budapest, Hungary.




I
  n both ascendant and troubled democracies today, contentious political dynamics are at
  play across a wide variety of domestic contexts and actors.12 People and organizations
  working toward advancing democracy sometimes have structural and other winds at their
                                                                                          -
ing their way forward against strong headwinds. Yet negative factors, such as authoritarian
strength, need not be decisive.13 Nor are backsliding democratic regimes—the focus of this
report—stable and unalterable.14

Recent scholarship on pro-democracy actors and political history shows that the strategies
they deploy to pursue their goals matter.15 Describing his own convictions in that regard, Larry
Diamond writes: “I became (and remain to this day) convinced that the failure of democracy
is not foreordained, and that within the various social and institutional constraints, actors act,
making choices that can doom or possibly sustain democracy.”16 Democracy’s fate rests in
the hands of people, and securing it begins at home.

This section of our report distills principles of strategic action for how domestic actors can
promote democracy in their own nations. We examine scholarship on the roles of governing
political parties and actors, political opposition groups, civil society and the independent
media, and the business sector. Throughout, we illustrate strategic principles with contem-
porary and historical examples drawn primarily from Central and Eastern European nations.
Although we draw upon academic literature that, at times, assesses activity around the globe,
we aim to draw lessons that are especially applicable for actors in nations experiencing, or
at risk of, democratic backsliding in Europe and Eurasia.


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                    1. Government and political party leaders

                      SUMMARY

                       Government and political party leaders should:
                       • Be prepared for and invest in protecting against internal and external interference
                         in elections. Elections are the foundation of a democracy yet advances in digital
                         technology have rendered elections increasingly complex and vulnerable to interference.
                         Governments should have a proactive and comprehensive deterrence strategy—with

                         who interfere in democratic elections. Governments and political parties should
                         invest in the people and systems necessary for the technological security of election
                         counting, voter registration machines, and political campaign networks.

                       • Enact policies that promote and protect broad access to the vote, such as
                         automatic or same-day voting.

                       • Regulate the role of money in politics to retain trust in the democratic system

                         disclosure requirements for donations, and limits on the amount of campaign
                         donations.

                       • Uphold institutional obligations and use their political power responsibly
                         through “institutional forbearance” (i.e., politicians should refrain from using the
                         full breadth and scope of their politically allocated power) and through “mutual
                         toleration” (i.e., opposing sides regarding one another as legitimate rivals, but not
                         enemies.) When these norms break down and authoritarian challenges emerge,
                         further legal mechanisms should be considered to sanction extreme behavior.

                       • Defend the independence of the judiciary by establishing public procedures for
                         the selection, appointment, and promotion of judges, for the allocation of cases to
                         judges, as well as codes of ethical behavior that protect the integrity of the judicial
                         decision-making process from undue political pressure, intimidation, and attacks.

                       • Implement judicial transparency mechanisms (e.g., opening up courtrooms,
                         producing publicly available transcriptions of proceedings, and placing cameras in
                         courtrooms).



                    Those with institutional control of national-level, democratic political systems bear the respon-
                    sibility to maintain their vibrancy. This section distills best practices that incumbent executive,
                    legislative, judicial, and political party leaders can follow in order to maintain the democratic
                    character of the system within which they operate. These duties manifest in separate but
                    related ways, from policy choices to institutional behavior to political statements.




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A. STRENGTHENING DEMOCRATIC PRACTICES AND FEATURES
In a democracy, political actors are responsible for strengthening democratic practices and
features. We highlight three of those features in particular: secure, free, and fair elections;
money in politics; and the formation of strong political parties populated by pro-democracy
politicians that are appropriately attuned to a diverse grassroots support base.

Secure, free, and fair elections are the foundation of democracy, yet ensuring them is a
complicated endeavor. Even in well-established democracies, measures must be taken to
guard against partisan efforts to manipulate the vote.17 Conversely, governments should
enact policies that promote broad access to the vote, such as automatic or same-day voter
registration.18

Elections must also be secured against international interference of the kind practiced by
Russia across Europe and in the United States.19 Protecting against external meddling requires
improving the technological security of election counting, voter registration machines, and
political campaign networks. It also entails encouraging social media and other news media
companies to cooperate with the government in addressing the problem of disinformation.20
Governments on both sides of the Atlantic must also develop a comprehensive deterrence
strategy that will appropriately punish nations who interfere in democratic elections.21

Second, the role of money in politics must be properly regulated so as to not elevate special
interests over those of the public and foster a lack of trust in the democratic system. To pre-



create disclosure requirements for donations, and set limits on the amount of money that can
be donated to campaigns. These reforms can lead to positive effects such as the emergence
of more political challengers, the reduction of the total cost of campaigns, and even a larger
proportion of budgets being devoted to public welfare spending, which work in tandem to
strengthen democratic institutions and trust in government.22

Finally, political parties must strike the proper balance between central control and grassroots
                                                                                              23

But too much decentralization of decision-making power in selecting party leaders and candi-
dates may also have perverse effects. One of these effects includes unduly empowering fringe
elements who do not represent the opinion or interests of the majority and special interest
groups.24 This may reduce the breadth of party appeal, potentially reducing politicians’ incen-
tives to make decisions in the public interest. Recent work has advocated for an approach to

emphasizes the value of critical debate among decisionmakers, with the objective of diversi-
fying political discourse to include alternative perspectives.25 Such an intermediate approach
enables political parties to keep central control in mind while maintaining a diverse base and
remaining in touch with the interests of their grassroots supporters.




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                    B. RESPONSIBLE POLITICAL BEHAVIOR
                    In addition to helping foster conditions conducive to democratic consolidation and imple-

                    power responsibly in order to safeguard democracy. In practice, politicians who uphold their
                    institutional obligations will respect two particularly important norms of political behavior:
                    “institutional forbearance” and “mutual toleration”. In so doing, they can insulate themselves,
                    their parties, and their democracies from would-be authoritarians.26

                    The norm of institutional forbearance holds that politicians should refrain from using the full
                    breadth and scope of their politically allocated power, when doing so would undermine the
                    democratic system.27 Leading political scientists stress the importance of such restraint for
                    democratic stability and functioning. Institutional forbearance is often a matter of adhering to
                    norms not written into law, such as not packing courts, respecting term limits, and refraining
                    from issuing executive orders to circumvent the decisions of other branches of government.

                    Important work on cooperation in political systems suggests that politicians who exhibit
                    moderation while seeking the best possible outcome for themselves are making a good stra-
                    tegic bet. Such behavior will help produce repeated cooperation and sustained “playing” over
                    the long-term. Intransigence, on the other hand, incentivizes costly retaliation.28
                    historical evidence suggests that excessive retaliation can lead to system breakdown.29

                    Sometimes the solution can be found in strong constitutional protections, but deftly written
                                                                                                                 -
                    racy. Even the best constitutions include gaps and ambiguities that are subject to competing
                    interpretations. Moreover, constitutions will unavoidably be vulnerable to what legal scholars
                    have dubbed “constitutional hardball”.30 This is the opposite of institutional forbearance and
                                                                31




                    An example of illiberal leaders playing constitutional hardball can be seen in the recent political
                    turmoil in the Czech Republic. The unabashedly illiberal Czech President Milos Zeman has
                    used his limited constitutional powers to their fullest extent in order to support the populist
                    Prime Minister Andrej Babis, who is currently embroiled in a corruption scandal that has
                    prompted the largest Czech protests since the Velvet Revolution.32 Zeman allowed Babis’
                    proposed government to continue in a caretaker capacity even when he lost a parliamentary



                    ultimately survived).33 All of these decisions are technically legal; Zeman has operated within
                    his constitutional authority. However, Zeman’s purported alliance with Babis has disregarded
                    generally accepted political norms, particularly the norm of replacing a prime minister after



                    A second norm crucial to democratic functioning is “mutual toleration”, which addresses how
                    political opponents treat one another.34 Politicians who are mutually tolerant acknowledge




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that as long as their opponents follow constitutional rules, they have an equally legitimate

opponents, and they may not like each other, they do not treat them as existential threats. In
other words, mutually tolerant politicians on opposing sides regard one another as rivals, but
not enemies. This is especially important to sustaining democracy because when politicians
unfairly cast their opponents as illegitimate, dangerous threats, they can also justify using
authoritarian measures to defeat them.35

Another aspect of responsible political behavior is keeping power out of the hands of extrem-
ist leaders.36

leadership roles. Yet history shows that it is a mistake for pro-democracy establishment pol-

popularity and be able to control their worst impulses.37

Unfortunately, not all would-be despots are easy to spot. Some of
today’s infamous, illiberal leaders, such as Hungary’s Viktor Orbán, had       History shows that it is a
promising beginnings. In 1989, Orbán studied civil society at Oxford           mistake for pro-democracy
University, funded by a scholarship from the Soros Foundation. He
began his political career as a liberal democrat and governed demo-
                                                                               establishment politicians
                                                                  38
                                                                     His       to permit the rise of radical
turn towards authoritarianism—following his return to power in 2010—
came as a slowly-dawning, unpleasant surprise to some.39
                                                                               leaders under the belief that
                                                                               they will benefit from their
As an early-warning system of such developments, political scien-              popularity and be able to
tists have articulated a generally reliable framework for identifying
prospective dictators. Drawing upon the foundational scholarship of            control their worst impulses.
           40
              Steven Levitsky, and Daniel Ziblatt propose four key indi-
cators of authoritarian behavior. They include: “1) Rejection of (or weak
commitment to) democratic rules of the game; 2) Denial of the legitimacy of political oppo-
nents; 3) Toleration or encouragement of violence; and 4) Readiness to curtail civil liberties of
opponents, including the media.”41 It is important to note that prospective authoritarian leaders

that they already possess. They often go to great lengths—such as inventing threats to justify
the utilization of emergency powers—to maintain the legality of their actions. Political parties
and leaders must, therefore, respond in turn, using all legal and discretionary tools at their
disposal to isolate and ostracize aspiring politicians who meet one or more of these criteria.



can respond to authoritarian behavior. First, and most importantly, rival pro-democracy parties
and leaders should collaborate in a united front to push back against extremists. Second, they

doing so might generate votes. Third, they can purge extremists in the grassroots of their own
parties, by expulsion if necessary. Fourth, political parties can avoid forming any alliances with



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                    potentially extremist wings on their own side of the ideological spectrum. Finally, they can go
                    one step further by refraining from appearing or associating with would-be authoritarians,
                    in turn refraining from providing those groups or individuals with political legitimacy.42 Such
                    steps can go a long way toward marginalizing, and in turn defeating, would-be authoritarians.43

                    French establishment politicians used a combination of these strategies in the 2017 pres-
                    idential election to keep the far-right National Front leader Marine Le Pen out of power. All

                    centrist candidate Emmanuel Macron in the second round. These endorsements provided a
                    much-needed boost for Macron, who went on to defeat Le Pen in a landslide—albeit with a

                    Le Pen, Marine’s father. Reportedly, the French establishment politicians who universally

                    perceived to be a danger to democracy.44



                    C. JUDICIAL INDEPENDENCE AND RULE OF LAW

                    and independent institutions.45 Among those institutions, the judiciary is one of the most
                    important, particularly in countries veering toward illiberalism. As Christopher Larkins notes,
                    an independent judiciary serves a unique role in constitutional democracies in enforcing the
                    constitution, civil and political rights, and other democratic procedures.46 An independent
                    judiciary is one that remains impartial, approaches cases without bias, including towards the
                    politically powerful, and operates without fear.47

                    Conversely, an important strategy of the aspiring authoritarian is to operate under a veneer of
                    legality, and put into place a system that Kim Lane Scheppele calls a “Frankenstate”, wherein
                    autocrats pull the worst elements of liberal democracies to create a new and wholly illiberal
                    system.48
                    of defense against the dismantling of democratic institutions and to defend it vigorously.49

                    The increase in Europe of illiberal tendencies poses a serious threat to judicial independence.
                    In a 2015 survey of 6,000 judges across 22 countries, many “judges did not feel that their inde-
                    pendence had been respected by government and the media.”50 Respondents also noted that

                    other than ability and experience. At a 2016 high-level Council of Europe conference, a British
                    judge highlighted a myriad of interrelated threats faced by his European colleagues: inade-
                    quate investment in courts and judicial structure, increased case complexity and workload,
                                                                                                                  51




                    and Tom Ginsburg note, “rule-of-law institutions in Central and Eastern Europe always lacked
                    the necessary support of genuinely liberal political parties and programs, leaving the courts
                    vulnerable to attacks from populists.”52



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                                                                                                                              PHOTO CREDIT
to “a point of no return concerning the independence of its judiciary.”53 While serving as prime

Constitutional Tribunal to decrease power, and changed decision-making rules to “paralyze
the court.”54 Among several new laws designed to cripple judicial independence was a 2015
amendment that required a two-thirds majority for binding decisions and raised the quorum
to hear cases from nine to 13.55 Since the court had only 12 justices at the time, the rule ren-
dered the body effectively inoperable. The PiS has in recent years continued to chip away at
judicial integrity through action as well as legal changes: it forcibly removed upwards of 149

                                                                                                -
ated to ensure judicial independence) with political appointees.56

In response to such predations in Poland and beyond,57 the Council of Europe in 2016 identi-
                                                                 58
                                                                    First, states should seek
to depoliticize the election and appointment of judges. Appointees should neither represent

established procedures should guide the selection, appointment, and promotion of judges.
These procedures should be transparent and “based on objective criteria relating to the exer-

enact codes of ethical behavior for the executive and legislative branches that “restrain (unduly



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                    harsh or politically motivated criticism), and protect the integrity of the judicial decision-
                    making process from undue political pressure, intimidation and attacks.” Fourth, the judiciary

                    dispel misunderstandings about processes and cases. Engagement with media might come
                    through independent “communication services or spokespersons that can answer criticism
                    on behalf of the judiciary and give general explanations of the legal process.” Fifth, objective
                    and established criteria should determine the allocation of cases to judges. Sixth, states can
                    deter corruption through adequate remuneration, working conditions, transparent investiga-
                    tions, and clear ethical standards.59

                                           Furthermore, rule of law can be strengthened through judicial transpar-
It is crucial to view the                  ency mechanisms. Though transparency is no panacea for spurring
rule of law as a first line                democratic mobilization,60 empirical research has shown that there
                                           is a positive relationship between judicial transparency and trust in
of defense against the                     judges.61 Therefore, both state actors and members of the judicial
dismantling of democratic                  system should work to open up courtrooms by producing publicly
                                           available transcripts of proceedings in a timely fashion, taking steps
institutions and to defend                 to ensure that sealed documents are minimized, and placing cam-
it vigorously.                             eras in courtrooms. These actions can help to augment both judicial
                                           independence and citizen trust in the judiciary. In addition, emerging

                                           challenges and opportunities in promoting judicial independence and
                    equity. For example, big data and AI can play a role in litigation by, forecasting which judges

                    while disadvantaging those without access to such tools. They can also play a more bene-

                    decisionmaking.62 As these technologies develop, democratic actors must work to ensure




                      SECTION 1.1 KEY RESOURCES:

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                      • Linz, Juan J., and Alfred Stepan. (Eds.) The Breakdown of Democratic Regimes: Crisis,
                        Breakdown, and Reequilibration (Baltimore, MD: Johns Hopkins University Press, 1978).

                      • “Council of Europe Plan of Action on Strengthening Judicial Independence and Impartiality.”
                        Council of Europe April 13, 2016, https://rm.coe.int/1680700125.




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2. Political opposition groups

  SUMMARY

  Political opposition groups should:
  • Form networks between other opposition groups, local electoral activists, civil
    society groups, and, where appropriate, international organizations and actors.

  •
      referenda as an alternative. When opposition groups can build a broad-based

      Where forming a coalition is not possible, an alternative model to consider is
      implementing a popular referendum that can provide the advantages of a binary
      structure and the potential to expose the unpopularity of populist governments.

  • Increase election monitoring capacity and be prepared to use electoral abuse
    evidence as the basis for reform advocacy. Pro-democratic opposition parties
    must prioritize ensuring independent election monitoring. The opposition can

      election observers and involving them in the process early. Where there is evidence
      of electoral abuses, the opposition should be prepared to work with external allies
      to apply pressure to the regime to reform electoral practices.

  • Engage new voters by presenting a vision for the future. The pro-democracy
    political opposition must get voters to the polls. The opposition should partner with
    civil society groups to reach new segments of the population and convey optimism
    and good cheer to communicate that change is possible. Successful tactics include
    bus tours and marches, discussion fora between candidates and citizens, door-to-
    door canvassing, street theater, popular music concerts, and satire.

  • Remember that the message matters. The opposition must explain the costs of
    keeping an illiberal incumbent regime in power. Successful campaigns use positive
    and inclusive messaging rather than relying on negative attacks on the incumbent.

  • Forcefully contest each individual illiberal act of non-democratic actors within the
    bounds of democratic norms. Utilizing institutional measures such as the constitutional
    authorities of courts and legislatures can slow or obstruct illiberal reforms.
    Opposition leaders may also choose to pursue more extreme institutional measures

      referenda) and/or deploy extra-institutional tools (e.g., protests, strikes, or boycotts).




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                    Political opposition groups face stark challenges in governments controlled by illiberal pol-
                    iticians, who, surrounded by loyalists, have gradually degraded democratic processes and
                    consolidated their own holds on power.63 To varying degrees, authoritarian-leaning political

                    their nations’ democratic natures. Elections in such places are heavily tilted to favor the party
                    in power, if not outright rigged; pro-democracy political opposition parties have been mar-
                    ginalized or extinguished altogether; and freedoms of speech and assembly are warped or
                    non-existent. These conditions constrain the operating space of pro-democratic opposition
                    actors and, in turn, make illiberals harder to oust. While this should not discourage pro-dem-
                    ocratic actors from working toward improved conditions in those nations, it highlights the



                    The iterative process of democratic backsliding provides opportunities for pro-democratic
                    political opposition parties to resist these trends. Especially in early stages of democratic
                    reversal, political opposition groups still have many tools available to them to compete for
                    power through standard political processes, both at the polls and within legislative bodies.
                    Although would-be authoritarians should be expected to continue to try to tilt the rules of the
                    game in their favor, pro-democracy opposition parties have a very important role to play.64

                    What, then, should pro-democracy political opposition parties in backsliding nations do to
                    restore democracy? Based upon recent scholarship, this section provides detailed recommen-
                    dations for leaders and members of the political opposition—broken down between electoral
                    strategies and institutional and extra-institutional tools.65




                    A. WINNING AN UNFAIR ELECTION
                    Elections, even when warped by authoritarians in hybrid states, have the potential to lead to
                    liberalizing outcomes and provide real opportunities for transformational political change.66
                    They can serve as an important mode of democratization that political opposition groups
                    should aggressively pursue, even when the odds seem stacked against them.

                    Political scientists Valerie Bunce’s and Sharon Wolchik’s analysis of eleven elections in nine
                    nations suggests that variance in opposition group electoral strategy was the most import-
                    ant explanation of success or failure. Ambitious and innovative opposition groups exhibited
                    strong performance in elections and, in turn, improved democracy.67

                    Bunce and Wolchik outline the “electoral model,” a set of electoral strategies for opposi-
                    tion campaigns against authoritarians.68 To implement the model, pro-democracy political
                    opposition must practice long-term planning, as well as pay close attention to detail, coor-
                    dination, and lessons learned from past failures. Perhaps most importantly, pro-democracy
                    parties must pursue an overarching process through which they form transnational networks
                    between civil society groups, other opposition groups, local electoral activists, international
                    organizations, and nations striving to promote democracy.



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a guarantee of electoral victory or ultimate democratization, empirical analysis of elections
in competitive authoritarian regimes between 1990 and 2002 suggests that there is great
value in taking this step. Even in challenging cases, when oppositions were able to build a
broad-based coalition, the likelihood of a liberalizing electoral outcome increased by over 80%.
Across ten tested variables (including structural factors such as economic growth and the
prior occurrence of a liberalizing electoral outcome), the opposition’s formation of a coalition
was the best predictor of a positive result.69




different pro-democracy groups. Collaboration can also signal commitment to contesting
power and demonstrates that the groups involved possess the political skills necessary to
effectively govern. This can persuade skeptical citizens, civil society groups, and external
democracy promoters to join the cause.70 Although institutional factors such as electoral
rules and social cleavages do shape the formation of political coalitions before elections,
scholarship suggests that their effects in hybrid regimes are only modest.71 Thus, political
opposition groups in backsliding nations enjoy agency to set their own electoral coalition
strategies; environmental factors are not deterministic.




                                                                                         72
                                                                                              With

opposition parties, referenda offer an opportunity to citizens to decisively communicate their
aversion to a populist government. While not possible in all contexts, such exercises of direct
democracy could serve as alternatives to coalition formation when the latter is beyond reach.

A second core component involves voting processes themselves. As we know, in hybrid

can be sophisticated, and at times, even include meddling with vote counts.73 In response,
the pro-democratic opposition must work hard to ensure independent election monitoring



                                                                                            -
tional election observers and involving them in the process early. While independent election

should also work to have their own trained election monitors where possible. Moreover, once
armed with evidence of electoral abuses, the opposition should work with external allies to
apply pressure to the regime to reform electoral practices.74 We discuss possible synergies
in greater detail in section 2 of the report, which focuses on how international actors can
best promote democracy.



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                    no way around it: to win back power, the pro-democracy political opposition must get voters
                    to the polls and must be prepared to counter unfair voter suppression tactics. Opposition
                    parties in hybrid states often lose elections partly because citizens opposed to the regime
                                                                                                                  -
                    ing or incompetence.  75

                    must tune their messaging to win over both groups, generating new votes. Recent research
                    investigating 61 competitive authoritarian elections after the end of the Cold War shows that
                    increased voter turnout is directly associated with a larger vote share for the opposition.76

                                           How can the opposition mobilize votes? Here again, partnerships with
                                           a broad swath of civil society (and with international actors, who can
There is no way around                     help to provide an enabling environment, support political space, and
it: to win back power, the                 provide skill-building opportunities for opposition groups) are valuable.
pro-democracy political                    The opposition should also maximize media opportunities to dissemi-
                                           nate messages to a broader audience. Civil society groups can provide
opposition must get voters
to the polls and must be                   reach. International organizations can also play a role; we say more
                                           about this in section 2 of this report.
prepared to counter unfair
voter suppression tactics.                 The opposition must clearly explain to the public the costs of keeping
                                           the incumbent regime in power and promote direct contact between
                                           opposition political leaders and citizens outside of major cities. The
                                           opposition must articulate, in clear terms, how particular encroach-
                    ments place the system at risk, and advantage the incumbent. Also effective is a positive
                    and inclusive message that does not solely rely upon negative attacks on the incumbent. The
                    opposition should go beyond rhetoric by improving upon policy failures and proposing better
                    solutions that will meet the needs of real people.77 To do so effectively, the opposition must
                    understand the conditions of anger and disillusionment along the electorate that led to the




                    Pro-democracy parties must also adjust to the changing digital landscape for political
                    campaigns. Despite initial optimism about the internet’s potential to make elections more
                    democratic, it has become clear that the web is a double-edged sword for political cam-
                    paigns, one that seems to favor illiberals. On the one hand, the internet enables candidates
                    to fundraise, run less expensive campaigns, organize supporters, and mobilize voters.78 But,
                    as the legal scholar Nathaniel Persily argues, “what the internet uniquely privileges above all
                    else is the type of campaign message that appeals to outrage or otherwise grabs attention.”79
                    As a result, extreme actors have been able to harness the power of the internet better than
                    their pro-democratic counterparts. Social media platforms such as Facebook have enabled
                    democratic vulnerability, provided fora for false information and hate speech, and fueled par-
                    tisan divisions. Although such platforms have begun to make changes in the face of public
                    pressure, these measures are unlikely to prove adequate on their own. As Persily points out,



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“democracy depends on both the ability and the will of voters to base their political judgments
on facts, or at least on strong intermediary institutions that can act as guardrails to channel
decisionmaking within the broad range of democratic alternatives.”80

Democratic campaigns will need to learn from the success of illiberal candidates and imple-
ment a targeted digital strategy that maximizes message virality, connects better with
supporters on social media, and employs clever mobilization tactics. At the same time, oppo-
sition campaigns should take the high road by being truthful and inclusive in their messaging.
Moreover, until governments and tech companies can plug digital vulnerabilities, the reality is
that campaigns will also need a cybersecurity risk management plan. A successful example
of a prepared and nimble campaign can be found in Emmanuel Macron’s 2017 presidential
election. Despite a “coordinated attempt to undermine” Macron’s candidacy in what is now
referred to as the “Macron Leaks” operation, Macron’s campaign was able to fend off the
attack, win the election, and boost its credibility as a modern, tech-savvy party.81



citizen engagement. These tactics can include, but are not limited to, bus tours and marches,
discussion fora between candidates and citizens, and door-to-door canvassing. In successful
campaigns, youth groups have used street theater and satire to ridicule and de-legitimize
would-be authoritarians, as well as rock concerts and the media to add energy to what is often
considered a dull process. In the words of participants in Slovakia’s Civil Campaign OK’98—

electoral campaign—such activities were aimed at making participation in elections “fun and
not just a duty.”82 As Bunce and Wolchik assess, Slovakia’s pro-democracy movement in the
lead-up to the 1998 elections helped create “a climate of optimism supporting the ideas that
votes count and that change was possible.”83

Appropriately calibrating and implementing electoral policies designed to favor the incumbent

legal or institutional obstacles.84 And even the most extreme election fraud (such as ballot



Recent scholarship suggests that the uncertainty and collective action problems inherent to
implementing electoral fraud tend to produce unintended results that are not ideal from an

false margin of victory drawing widespread condemnation, or too little rigging, such that the
authoritarian loses.85 Indeed, as strong independent analyses by election observers in nations
                                                                                              86

Even when incumbents are actively trying to secure their re-election using the most extreme
election rigging measures, they may fail. To push back against election rigging, opposition par-
ties (and the movements that support them) should proactively develop plans ahead of time
in the event that such fraud occurs. Relevant mechanisms include election monitoring, exit
polling, and a mass mobilization strategy if discrepancies arise. In competitive authoritarian
contexts, political opposition campaign strategies and individual votes can make a difference.



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                     B. SLOWING DETERIORATION
                     Although winning elections should be a centerpiece of pro-democratic political opposition
                     parties’ strategies to promote democratic change, it cannot be their only objective. While
                     running ambitious and energetic campaigns, the opposition must also compete within the
                     government (and, at times, outside of it) to slow the process of democratic backsliding as
                     much as possible. As we know, when leaders and parties with authoritarian tendencies gain
                                                                                                              -
                     tage.87 The political opposition must vigilantly contest each individual act.

                     Despite narrowing democratic space, the political opposition does have a broad menu of
                     institutional and extra-institutional options of varying severity available to them. How, then,
                     should the opposition best compete? The answer is context dependent. However, as a gen-
                     eral rule, the opposition should not resist would-be authoritarians by breaking the democratic
                     norms that it ultimately seeks to strengthen.

                     Instead, opposition members should draw mainly upon institutional measures, the standard
                     tools of the democratic game, to slow or obstruct illiberal reforms.88 These measures derive
                     primarily from the constitutional authorities of courts and legislatures to maintain a check on
                     executive power. Though exact mechanisms vary depending on a country’s political system,
                     opposition legislators should work to obstruct the passage of an executive’s anti-democratic




                     leaders can also utilize extra-institutional tools—engaging in or encouraging, for example, a
                     protest, strike, or boycott, in conjunction with civil society.



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In this model, the norms of mutual toleration and institutional forbearance—which incumbents
must practice to preserve democracy—still maintain their importance, even as the political
opposition resists an illiberal leader. While the goal of the opposition is to gain control of the
government in order to halt democratic decay and begin a process of reform, they must also
keep the system running. Full breakdown, which becomes more likely when the opposition
casts these two norms to the wind, will always favor the incumbent. It provides him or her

ever more control.89

Moreover, one important prize at stake in the contest between the              The opposition should not
would-be authoritarian and the opposition is legitimacy. Legitimacy
                                                                               resist would-be authoritarians
authority.90 Accordingly, it is unsurprising that aspiring authoritarians      by breaking the democratic
expend great effort attempting to maintain their nation’s democratic
façade, even as they work to dismantle its democratic character.91 The
                                                                               norms that it ultimately seeks
pro-democratic opposition, then, must work within the system and               to strengthen.
partner with civil society experts to expose the ways in which would-be
authoritarians are mimicking, but actually violating, the rule of law. Kim
Lane Scheppele, for example, argues that the seemingly normal continuity of the surface-level
indicators of rule of law can conceal creeping autocratic legalism. She therefore contends
that deeper legal forensic analysis and wider education of citizens on constitutionalism are
needed to combat growing dysfunction.92 The pro-democratic opposition must not abandon
democratic principles in their contest with illiberal leaders. Extreme, extra-institutional resis-
tance measures will usually serve neither end.93

Recent steps by Turkey’s pro-democracy political opposition offer a promising example of the
aforementioned strategies. Despite more than 15 years of democratic deterioration led by the

(AKP), opposition parties have generated recent electoral successes.94 These parties formed
                                                                                          -

messaging using his own words against him, and emphasized face-to-face interaction with
a broad array of Turkish voters.95



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                    3. Civil society and independent media

                      SUMMARY

                      Civil society groups should:
                      • Seek broad, diverse, and large-scale participation in their activities.

                      • Model organizationally what they seek to achieve in a democracy. Leadership
                        teams should conduct open, regular grassroots deliberations and decision-making
                        authority rather than concentrate decision-making power in the hands a few.

                      •
                                                                                           who is mobilizing
                          whom to do what.

                      • Be prepared to use diverse and varied nonviolent tactics to increase the pressure
                        on government and attract more people to participate.

                      Independent media should focus their efforts on four key areas:
                      • Occupational development and education to provide a pipeline to up-and-coming
                        media actors able to notice and resist threats to the industry.

                      • Professional associations to enable and support individual journalists on issues
                        like professional values, employment conditions, legal questions, and editorial
                        standards.

                      • Media self-scrutiny and development of a robust media criticism community.
                        Such a community could increase public trust, and thus public support, through
                        the transparent and constructive questioning of the relationship between
                        journalists and politicians and advertisers.

                      • Internal governance. As with civil society organizations (CSOs), media outlets
                        should assume responsibility for improving their own internal governance and
                        develop mechanisms to deal fairly with audience complaints and develop all work
                        contracts to cover all employees to prevent self-censorship.



                                                                                                                -

                    on politics and government through separate avenues. This section addresses those seek-

                    leaders and members of civil society, and then turn to professionals working in perhaps the
                    democratic institution most often attacked–independent media. Both civil society and the
                    media are critical parts of the democratic process, and we thus aim to distill best practices




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A. THE ROLE OF CIVIL SOCIETY IN DEMOCRACY



which play an important role in giving voice to the concerns of citizens and in delivering ser-
vices that meet people’s needs,” including grassroots organizations and NGOs.96 A robust civil
society helps preserve democratic vibrancy, provides citizens with information that can help
inform their voting, and presents opportunities for powerful collective action. Even when these
social connections and activities are completely unrelated to political or governance issues,
their depth and frequency bear important implications for the strength of democracy, and
paths of democratization.97 In the words of two political scientists, civil society organizations
can “sensitize society to pressing domestic and international issues, build cohesion within
communities, help citizens to articulate their beliefs and interests, exercise control over those
holding political power, and provide social services.”98

In contrast to civil society groups writ large, civil resistance movements are formations of
individuals engaged in particular kinds of collective tactics. We follow the International Center

with no special title, status, or privilege) to wield power without using or threatening physical
violence. It consists of (a) acts of commission, in which people do things they’re not supposed
to do, not expected to do, or forbidden from doing; (b) acts of omission, in which people don’t
do things that they’re supposed to do, expected to do, or required to do; or (c) a combination
of both acts of commission and omission.”99 Acts of commission include demonstrations,
petitions, and civil disobedience. Acts of omission include boycotts, strikes, and divestment.100

While many of the recommendations we make can be adapted by
leaders with a wide range of goals, we place emphasis on associations         For advocates of democracy,
and movements that adopt political ends and push to bolster democ-
racy through non-institutional channels. These groups can protect civil       among the most encouraging
liberties and other democratic institutions through persistent advocacy       academic findings from
for democratic rights and norms and civil resistance against author-
itarian encroachment. Czech dissident (and later president) Václav
                                                                              the past decade is that civil
Havel’s Charter 77, which ultimately became the political movement            resistance works.
called Civic Forum, is one famous example.101 How do groups like
Havel’s surmount enormous obstacles to successfully promote dem-
ocratic renewal?

Despite relying on nonviolent tactics and operating without access to standard levers of
government control, civil society groups and civil resistance movements are able to wield

Sharp argues, would-be authoritarians may use lies, economic inducements, and a variety
of coercive tools to obtain that consent, but without it, they are powerless.102 Indeed, in order
to carry out policy initiatives and government functions, modern would-be authoritarians
are dependent on a wide variety of other people and organizations, many of whom exist




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                    outside the government. Neil Fligstein and Doug McAdam note that modern nation-states

                    state actors.103 If enough of those actors withdraw their consent, the state can lose its basis
                    of authority and capacity to rule. Citizens and organizations can do their part by withdrawing
                    their consent and applying pressure on other actors to do the same. Eventually, pillars of
                    authoritarian power start to show cracks, and a nonviolent group can coerce valuable, or
                    even transformative, concessions from the government.104 In other words, everyday citizens,
                    working together, can turn the entire system upside-down. Several scholars have substanti-
                    ated this idea empirically.105



                    the past decade is that civil resistance works. Erica Chenoweth and Maria Stephan argue that
                    nonviolent resistance can be an effective means of promoting democratic consolidation and
                    transition, even in especially challenging scenarios.106 Moreover, after analyzing 323 violent

                    groups were more than twice as likely to achieve a full or partial success as their violent coun-
                    terparts.107
                    they argue that a public’s capacity to engage in collective action to hold leaders accountable
                    is among the most important predictors of democracy.108



                    B. DEVELOPING LEADERSHIP TEAMS WITH HIGH STRATEGIC CAPACITY
                    Not every civil society organization or social movement, of course, achieves its goals. The
                    decisions made by civil society groups and social movements are important to their ultimate
                    success or failure.109 In this section, we review which kinds of approaches and tactics seem
                    to correlate most with success.110

                    We begin by discussing a fundamental question, especially considering the context-
                    dependence of particular strategies. Why do some groups make better decisions than others?

                    Scholar and activist Marshall Ganz seeks to answer this question by proposing the concept of
                    “strategic capacity.” He writes that leadership teams with high strategic capacities are better
                    able to think and plan creatively, respond to shifting and uncertain environmental conditions,
                    and mobilize supporters around shared goals than those with lower capacities.111 In other
                    words, leadership teams with high strategic capacities are more likely to succeed.

                    According to Ganz, a group’s strategic capacity derives from two principal sources: biographi-
                    cal and organizational.112 Biographical sources include a leadership team’s combined identities,
                    social networks, and tactical repertoires. Organizational sources refer to a leadership team’s
                                                                                                                   -
                    ability mechanisms.




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Across biographical sources, diversity is crucial. To maximize its biographical strengths, a
movement must build a leadership team from a diverse array of people, with different back-
grounds, networks, and skills. Leaders with diverse identities will bring relevant knowledge
from a wide range of constituencies that can allow for innovative problem solving.113 As Ganz
summarizes, “[a] leadership team’s strategic capacity grows out of who its members are.”114

Organizations and movements can also maximize their organizational sources of strategic
capacity by following a series of best practices. For instance, the organizational structure
itself matters. Hierarchical organizations tend to have more centralized decision-making

commitment to the organization can be lowered.115 Leadership teams that conduct “regular,

team, producing better strategy than groups that concentrate decision-making power in the
hands of one leader who makes choices without broader input.116 Ganz details a wide array
of additional best practices in his work.117



C. ENCOURAGING BROAD AND DIVERSE PARTICIPATION
While the characteristics of an organization or movement’s leadership are critical, so is the
make-up of the entity’s member base. The most successful movements and organizations
are those that appeal to broad and diverse audiences. Srdja Popovic, a leading civil resistance
practitioner and thinker, emphasizes that building bridges between disparate societal groups
is key. As he colorfully puts it, “It’s unity, stupid!”118 Participants’ diversity within a movement—
in gender, age, religion, ethnicity, ideology, profession, and socioeconomic status—makes it
harder for a government to ignore, discredit, or isolate it.119
that robust social ties reduce the effectiveness of repression.120

In addition to having diverse participants, civil society organizations
and civil resistance movements should strive to have as many mem-
                                                                                 The diversity of a movement—
bers or followers as possible. Initiatives with large numbers of people          in gender, age, religion,
participating are fundamentally more likely to succeed than small                ethnicity, ideology, profession,
                                                                      -
trolling for other variables, nonviolent resistance movements with high          and socioeconomic status—
                                                                121
                                                                                 makes it harder for a
To gather a large and diverse support base, Popovic recommends
                                                                                 government to ignore,
                                                                                 discredit, or isolate it.
They should assume that a majority of potential participants will be
generally uninterested and set political priorities that will be popular.
Two notable historic political movements, the American Revolution and Mahatma Gandhi’s
campaign for Indian independence, chose British taxes on simple, everyday goods as the
foci of their struggles. Choosing a broadly relatable symbol—in the American case, tea, and
in the Indian case, salt—helped the revolutionaries inspire the ordinary masses into action.122



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                    In addition to picking popular policy goals, groups and movements should adopt widely
                    appealing rhetoric and culture. Too often, contemporary pro-democracy campaigns end up

                    rest of the populace. For example, Pussy Riot, a Russian anti-authoritarian, punk rock protest
                    group, has appealed far more to educated, primarily urban youth than it did to rural and older
                    Russians who may not relate to the colorful satire of the demonstrators. Popovic contrasts
                    this example with the success of his own pro-democracy movement, Otpor! (“Resistance!”),

                                                         123




                    Of particular note is the importance of encouraging broad and diverse participation within
                    trade and labor unions, including because union members sit squarely in a demographic
                    often targeted by right-wing populist politicians for support. Research has shown that labor
                    union participation has a negative effect on extreme right-wing voting—that is, “unioniza-
                    tion immunizes voters” from the messages of extreme right-wing populists, likely due to
                    the principles and values of labor movements.124 While unionization is not a magic bullet
                    against increased populist support, unions can serve as a bulwark for democracy. They can
                    also serve as a model by integrating migrants, women, and other historically marginalized
                    workers,125 and adopting democratic and inclusive practices and procedures within their own
                    decision-making structures.126



                    D. ESTABLISHING DEFINED GOALS AND A CLEAR VISION
                    Having an area of passionate concern is not enough; organizations and movements should



                    goals are perceived to be less likely to succeed than more limited ambitions.127 As Sharon
                                                                                                                -
                    nomic reforms in society or within a particular regime or institution, rather than pursuing a
                                                   128




                                                                                              Rekonstrukce Státu,
                    or Reconstruction of the State, in the Czech Republic—a country faced with longstanding
                    and endemic corruption. Despite its name, Rekonstrukce Státu did not seek to reorganize
                    the entirety of Czech government to eliminate corruption; instead, it set forth nine practical
                    principles for government anti-corruption efforts that could be easily written into law. They
                    include transparency in public procurement, publishing government contracts on the inter-

                    the organization achieve success, with a majority of the nine goals being passed into law
                    in three years.129




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E. UTILIZING DIVERSE AND VARIED TACTICS
The exact tactics employed by activists vary widely depending on context, resources, and
mission. As a general rule, however, groups should aim to diversify their tactics. Employing a
range of different nonviolent strategies increases the pressure on government and attracts
more people to participate based on the activities that appeal to them most. In contrast,
limiting an organization to one particular tactic, or even type of tactic, can constrict a move-



By way of example, Popovic points to the Occupy Wall Street movement that began in 2011,
during the “Great Recession.” The group was focused on the scale of economic inequality and
wealth disparity in the United States. It garnered national and global attention at a time when
many felt that those responsible for the economic downturn were facing few repercussions.
Yet, argues Popovic, Occupy failed to capitalize on the massive popular frustration with cap-
italism’s failures. He contends that one of the Occupy movement’s predominant errors was
that it named itself after a single tactic. To participate in Occupy meant to conduct sit-ins,
immediately limiting the number of people willing to engage. Many of those sympathetic to
the cause who would have been willing to support the movement in other ways were not
able to skip work, class, or other obligations to participate in open-ended sit-ins. Occupy also

support base and restricting its tactical repertoire likely prevented Occupy from generating
more meaningful change.130

Slovakia offers an inspiring contemporary example of a civil resistance campaign that uti-
lized diverse tactics to achieve meaningful change. In February 2018, a Slovak investigative

leading up to his death, Kuciak published dozens of articles on Slovak corruption. He exposed
potential corrupt ties between Slovak businesses, state agencies, as well as the ruling political
party, Direction–Social Democracy (SMER-SD).131 The murders sent shockwaves through the
nation. Recognizing the widespread public frustration, and the opportunity it presented to push
for political change, a small group of students, calling their movement “A Decent Slovakia”,
organized an assembly and candlelight tribute in the center of Bratislava. Five hundred people



ever larger, reaching sizes unseen in Slovakia since the Velvet Revolution. The massive public

                                                                                              132




Effectively demonstrating the importance of employing diverse tactics, A Decent Slovakia



through elections.”133 Accordingly, the movement has worked with and endorsed pro-democ-
racy political candidates seeking to mobilize votes. All signs suggest that these efforts are




                                                                                                    Democracy Playbook   31
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                    pro-democracy Zuzana               . Her unlikely win was broadly perceived as a strong rebuke
                    of the populism, illiberalism, and democratic erosion that have plagued Slovakia and many
                    of its neighbors in recent years.134



                    F. THE ROLE OF INDEPENDENT MEDIA IN DEMOCRACY

                                                                                                                      -
                                                                                                      135
                                                                                                            An informed

                                                                                                              136

                    Curran and Toril Aalberg highlight the positive impact of well-informed citizens on society:
                    stable and meaningful opinions on issues, linked interests and attitudes, and preference
                    for political candidates who represent their views.137 Freedom of the press plays a “crucial
                    role” in democracy as the “‘matrix, the indispensable condition of nearly every other form
                    of freedom’, and indeed of the democratic process itself.”138



                    G. INDIVIDUAL AND SYSTEMIC THREATS TO MEDIA ACTORS
                    The independent media has become a popular target of illiberal politicians looking to con-
                    solidate power across Europe. Indeed, the Council of Europe this year called press freedom
                    “more fragile now than at any time” since the end of the Cold War.139
                    face obstruction, hostility, and overt violence in their investigations.140 Following a new “illib-
                    eral toolbox,” populist leaders have used a variety of strategies to undermine independent

                                     lawsuits, selective enforcement of laws, abuse of regulatory and licensing
A free and independent               practices, and verbal harassment.141 In Italy, for example, members of a coa-
press fulfills critical              lition government subjected journalists to hostile rhetoric, intimidation, and
                                     threats to withhold public funding and protections.142 Widespread action
democratic roles                     against independent media across the EU led the Council of Europe to caution
including monitoring                 that the “space for the press to hold government authorities and the powerful
                                     to account has been diminished.”143
public officials, providing
a platform for debate,               Two cases in particular illustrate the risks posed to media independence. In
and informing citizens.
                                     of independent media following the 2016 attempted coup.144 Over the past

                                                                                                                -
                    sorship, and consolidation of media companies. Other tactics have included buying off or
                                                                                                                -
                    nalists.145 As a result, Freedom House has deemed the country’s media as “not free,”146 and
                    Reporters Without Borders ranks it at a dismal 157 out of 180 countries for press freedom.147




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Another example of increasingly restricted media freedom is in Hungary, where physical
threats against journalists coupled with systemic efforts to compromise independence
have led Freedom House to rate its media as “partly free.”148 Orbán and his regime have
reshaped the media landscape to gain control and exert sway over “most of the country’s
media.”149 In November 2018, for example, pro-government media outlets merged to create
a “huge right-wing media conglomerate under the direction” of an Orbán ally.150 The new

exemption from external scrutiny, and close ties to the ruling regime. Those outlets that have
maintained autonomy face numerous obstacles, including “lack of advertising revenue, a
restrictive regulatory environment, and public campaigns to discredit independent journal-
ists.”151 However, Hungary’s media environment is not necessarily static. Especially as the
U.S.-based news outlet Radio Free Europe seems increasingly likely to return to Hungary to
bolster access to independent media, there remains some hope and opportunity for Hungary’s
media landscape.152



H. MAINTAINING AND DEFENDING INDEPENDENT MEDIA



• Occupational development
  draw on the collective knowledge of older generations of media actors153 to “foster
  occupational socialization.”154 The aim is to provide a critical mass of up-and-coming
  media actors able “to recognize and withstand” threats to the industry.155

• Professional associations. These should enable and support individual journalists
  on issues like professional values, employment conditions, legal questions, salaries,
  and editorial standards.156 The European Commission in 2014 noted that many
  problems faced by media result from the “civic weakness of the media community,”
  which is “largely fragmented and politically polarized thereby giving ample space for
  clientelism and a decline in professional standards.”157 Strengthening the capacity and
  representativeness of professional associations may help alleviate that threat.

• Media self-scrutiny. Additional efforts should focus on the development of a robust
  media criticism community. Such a community could increase public trust, and thus
  public support, through the transparent and constructive questioning of “journalists’
  relations with politicians and advertisers.”158

• Internal governance. Media outlets should assume responsibility for improving their
  own internal governance. The European Commission offers several suggestions: adhere

  and transparently with readers’/viewers’ complaints,” develop all work contracts to
  cover all employees to prevent self-censorship, and offer opportunities for professional
  development.159




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Press photographers

                         • Financial independence and sustainability. Finally, where possible, media outlets

                           Serbia, for instance, pro-government actors have acquired prominent media entities

                           organizations.160 To maintain independence, media actors in backsliding nations
                           should explore alternative funding models such as crowdfunding, subscriptions,
                           paywalls, and grants.161

                         Freedom House further recommends support for social media as an “alternative outlet for
                         free expression.”162 Indeed, new technologies like social media offer the chance to better
                         engage citizens, provide space for opposition, and hold elites accountable for their actions.
                         As shown by Matthew Placek, social media can increase demands for democracy and be
                         used to mobilize and express dissent.163
                         with higher support for democracy in Central and Eastern Europe. It also helps to facilitate the
                                                                                                                      164




                         The positive impact of new technology has been further outlined in Larry Diamond’s theory
                         of “liberation technology”: forms of “information and communication technology (ICT) that
                         can expand political, social, and economic freedom.”165 ICTs like social media can contrib-
                         ute to a “more pluralistic and autonomous arena of news” in illiberal regimes.166 They serve

                         dissident networks.



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Social media and similar technologies are not, of course, without potential downsides.
Illiberal states sometimes filter content on the internet or deny access. The advent of
disinformation—“false, inaccurate, or misleading information designed, presented and
promoted to intentionally cause public harm or for profit”167—poses an additional serious
challenge to democracy by social media. A 2018 European Commission report noted
that digital media enables some disinformation by public officials who “actively seek to
directly or indirectly control” news media.168 The report goes on to highlight strategies for
combating disinformation: enhance transparency of online news, promote media literacy,
develop tools to tackle disinformation, protect the diversity of news media, and continue
research on the problem.



  SECTION 1.3 KEY RESOURCES

  • Chenoweth, Erica, and Maria J. Stephan. Why Civil Resistance Works: The Strategic Logic of
                      . New York: Columbia University Press, 2011.

  • Popovic, Srdja. Blueprint for Revolution: How to Use Rice Pudding, Lego Men, and Other
    Nonviolent Techniques to Galvanize Communities, Overthrow Dictators, or Simply Change
    the World. New York: Spiegel & Grau, 2015.

  • Ganz, Marshall. Why David Sometimes Wins: Leadership, Organization, and Strategy in the
    California Farm Worker Movement. New York: Oxford University Press, 2009.

  • Sharp, Gene. The Politics of Nonviolent Action (Boston: Extending Horizons Books, 1973)
    and From Dictatorship to Democracy: A Conceptual Framework for Liberation (New York:
    The New Press, 2012).




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                    4. The private sector

                      SUMMARY

                      The private sector should:
                      • Resist corruption, co-optation and state capture. Corporate actors that shape the

                         undermining representative democracy and may be undermining economic
                         growth. History is replete with examples of businesspeople who disregarded these


                      • Aim to do well by doing good. Beyond merely avoiding the negative, the business

                         promote its long-term interests. These include activism, philanthropy, and
                         corporate social responsibility.

                      • Recognize the key role of social media companies. They should:

                           • Prioritize digital media literacy.

                           • Quickly remove material that violates the law and their codes of
                             conduct policies.

                           • Support narrowly tailored targeted government regulations that do not
                             infringe on users’ right to free speech—focusing on mechanisms like
                             political advertising and disinformation prevalence measures.

                           • Intensify cooperation with other platforms to share best practices.



                    In this section, we address the role that the business sector can play in protecting democ-
                    racy.169
                    private sector also has a profound capacity to increase societal prosperity, which in turn, pres-
                                                                                      170
                                                                                          We review why advancing
                    democracy is in the corporate interest, how businesses sometimes harm democracy, and
                    recommend strategies that both local companies and multinational corporations can use to
                    support democracy.

                    Since social media companies face unique challenges as gatekeepers of information, we
                    address them separately at the end of this section.




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A. DEMOCRACY AND BUSINESS
Democracies and business are co-dependent: a healthy democracy needs successful com-
panies, and successful companies require a healthy democratic society. Outputs of strong
democratic institutions and processes such as the rule of law, property rights, education,
human rights, access to healthcare, and low levels of corruption all facilitate economic growth
                                 171
                                     These operating conditions, which democracies provide,
                           172




Authoritarian and democratically backsliding nations tend to be reliably poor places to conduct
business. Russia, for instance, is ridden with structural and political issues that harm busi-
nesses. Business leaders and property holders accused of failing to comply with laws (often
with little or no legitimate evidence) can be stripped of ownership rights or have their revenues
seized.173 Russian corporations can also be pressured to sell their shares to the government,
                                                                 174
                                                                     Western-based
corporations, in particular, are often targeted with government threats of reg-
ulatory changes, unplanned inspections of facilities, and other increased and
                                          175
                                                                                           Avoiding
                                                                                                 corruption
                                                                                       is perhaps the most
Conversely, when democratic conditions improve, so too does the business               fundamental thing
environment. According to a recent quantitative study, higher levels of democ-
racy have led to more positive labor market outcomes in Central and Eastern
                                                                                       businesses can do to
European countries. The study found that democracy increases average annual            support democracy.
hours worked and employment rates, in addition to reducing general and long-
term unemployment rates.176 Thus, corporations that work to advance democracy
will be furthering their labor pool, and so their lasting interests.177



B. AVOIDING STATE CAPTURE, CO-OPTATION, AND CORRUPTION
Corporate corruption is inimical to democracy, and avoiding corruption is perhaps the most
fundamental thing businesses can do to support democracy. At its most drastic level, cor-

mechanisms of government that they “shape the formation of the basic rules of the game (i.e.,
laws, rules, decrees, and regulations) through illicit and non-transparent private payments to
                178
                    Corporate actors that shape the system to work for them, rather than the



Less obviously, they are also undermining the economic growth and overall business envi-
ronment of the countries in which they are operating: one study found that the growth rates
of captured economies over a three-year period were reduced by 10 percentage points,179

long-term health of the captured economy.180




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                    corrupt and authoritarian also merit attention. For example, McKinsey, the U.S.-based consult-
                    ing giant, has recently courted controversy as a result of its dealings with authoritarian and
                    corrupt actors in countries such as China, Russia, Ukraine, Saudi Arabia, and South Africa.181
                    In Ukraine, for instance, McKinsey took on a contract to help presidential candidate Viktor
                    Yanukovych improve his public image, despite Yanukovych’s previous criminal convictions
                    and attempt to rig an election. Yanukovych went on to win the presidency and lead Ukraine
                    into upheaval and illiberalism.182 McKinsey also notably did business with the state-connected

                                                                183
                                                                   The contract was initially lucrative for McKinsey,
                    reportedly making up more than half of its African revenue.184 After the widespread publica-
                    tion and protest of McKinsey’s activities, however, the consulting company lost most of its
                    South African clients and had to pay back the $74 million that it had gained from the deal.185
                    Companies should take note of these matters and exercise more prudence in their business
                    dealings with potentially corrupt and illiberal actors.

                    Businesses can also be misused by governments as a tool to undermine democracy, as in the
                    case of Microsoft in Russia. Russian authorities seized the computers and other equipment of
                    democratic organizations working to hold the government accountable under the guise that
                    they were cracking down on piracy of Microsoft software. While software piracy is a legitimate
                    problem in Russia, government authorities selectively and exclusively targeted pro-democratic
                    organizations.186 Given that the Russian government claimed to be seizing equipment to pro-
                    tect Microsoft, activist groups engaged in Russia argued that Microsoft had an obligation to
                    speak out against this behavior.187 The Moscow Helsinki Group denounced Microsoft’s failure

                    society activists.”188 Microsoft ultimately sought to make amends by announcing it would
                    provide free software licenses for independent media and NGOs in Russia.189



                    C. CORPORATE BEST PRACTICES

                    sector can work to help protect democracy and, in turn, promote its long-term interests.
                    These include activism, philanthropy, principled investments, and smart corporate social
                    responsibility.

                                                                                                            190
                                                                                                                  From

                    to 14 CEOs of the world’s largest food companies co-signing a letter to call for meaningful
                    climate change policies, CEO activism has become an increasingly important method that
                    companies use to promote their engagement with social and political causes.191 Frequently,

                    likely to report comments from CEOs of recognizable corporations.192 Other promising
                    developments include the work of the Business Network on Civic Freedoms and Businesses



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for Social Responsibility, who recognize that
attacks on civic freedoms are also attacks on
the business sector, and publicly advocate for
improved democratic conditions.193

Corporate philanthropy is another way that
businesses can work to strengthen demo-
cratic principles. Nike’s global Community
Impact Fund, for example, partners with sev-
eral community-based organizations in both
the United States and Europe to support grass-
roots movements that work to provide equal
opportunity for children.194 Corporations can
also work to bolster the rule of law and gov-
ernment accountability. General Electric, for
example, contributed to government reform in
emerging markets by meeting with business
                                                                                                       Sterling banknotes are

from a Southwest Asian country to discuss reforms to strengthen the rule of law. It also               Austria.


and legitimacy of GE’s action.195

Corporations should also avoid providing a veneer of legitimacy to illiberal leaders, and instead
ensure that investment decisions are informed, principled, and sensitive to the country con-
text. For example, Hungary’s Orbán has encouraged the continued investment of the German
car companies such as Audi and Daimler in the country, granting them tax reductions, sub-
sidies, and access to decisionmakers.196 In return, he has used their support to legitimize his
economic policies, which contributes to his continued grip on power. Such companies should,
as Thorsten Benner has argued, disinvest from the Hungarian economy, and demonstrate
their support for the liberal democratic institutions that Orbán is working to dismantle.

Companies can act in support of the elements of democratic systems by engaging in corpo-

CSR is “a management concept whereby companies integrate social and environmental con-
cerns in their business operations and interactions with their stakeholders.”197 The principles of
CSR can help promote transparency, corporate accountability, and sustainable development,
and help businesses keep in mind the long-term democratic health of their society.198 CSR can
include donations, employee volunteering, and pro bono work for civil society organizations.199
Within the framework of CSR, companies can also work to defend established standards and
regulations that can counter democratic backsliding, and can themselves propose their own
policies that promote and protect democratic values, even when the state itself rolls back
such protections.200




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                   At the same time, corporations must take care not to undermine the role of the state or of
                   democratic institutions when designing CSR programs. As Anthony Bebbington argues, CSR
                   programs are typically presented to the public not only as “acts of corporate good will,” but,
                                                                                                                        -
                   grammes of social welfare and environmental protection,” wherein “corporations assume roles
                   they would really rather not but feel they have to.”201 By replacing the role of the state, these CSR
                                           programs can have the perverse effect of undermining government
                                           institutions themselves; because corporations are not responsible to
Social media companies                     the public, democracy is undermined by the replacement of state insti-
face unique challenges and                 tutions with those run by the private sector.202 Moreover, governments
                                           could be incentivized to free ride on corporate efforts, and no longer
responsibilities, given their              face incentives to provide those same services to maintain public sup-
immense capability to aid                  port. Like other corporate functions, CSR is also susceptible to abuse.
                                           For example, it can be used as a convenient cover for paying bribes
or harm democracy in
the countries in which                           gifted technology can be deployed for purposes of surveillance. Firms
they operate.                                    and their compliance departments should be keenly attentive to these
                                                 risks when designing and implementing CSR programs.



                         D. SOCIAL MEDIA COMPANIES
                         Social media companies face unique challenges and responsibilities, given their immense
                         capability to aid or harm democracy in the countries in which they operate. Through their roles
                         in enabling, facilitating, and monitoring debate in the public arena, these companies have in
                         effect created a new governing ecosystem within which democracies function. As social media
                         platforms become more integral to daily life, early optimism about the technology’s democratic
                         potential has shifted into profound concern about misuse by authoritarian and illiberal actors.
                         As a result, social media companies have faced increasing pressure to prioritize platform reg-

                         media platforms and related responsibilities for those who own them.


                         How anti-democratic actors have polluted democratic space online
                         Anti-democratic actors have weaponized democratic space online through a multifaceted strategy
                         that includes propaganda, trolls and bots, cyberattacks, and misuse of private data. Given the

                         access to massive troves of personal data that can inform sophisticated spear phishing cam-
                         paigns.”203 Several key risks posed to democracy by social media include polarizing civil society
                         through echo chambers, amplifying and spreading disinformation, algorithms that create distorted
                         reality, gathering data to manipulate behavior, and facilitating harassment of target groups.204

                         While individual actors are responsible for some democracy-disruptive action, governments
                         in authoritarian regimes tend to fund and coordinate the bulk of bad behavior.205 Samantha
                         Bradshaw and Philip Howard found that among 28 countries they surveyed, “every authoritarian



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regime has social media campaigns targeting their own populations.” Illiberal leaders rely
on constantly evolving methods operationalized by “cyber troops” (government actors who
receive public funding) “to spread disinformation and attempt to generate false consensus.”206

Social media can also enable illiberal leaders to communicate directly over platforms. In
doing so, these leaders’ actions affect the proper functioning of democracy. Illiberal lead-
ers, by highlighting anti-democratic tendencies, “subvert established protocol, shut down
dissent, marginalize minority voices, project soft power, normalize hateful views, showcase
false momentum for their views, or create the impression of tacit approval of their appeals
to extremism.”207


How to address the challenge
Numerous studies and articles have outlined recommendations for social media companies
                                                                                             -
oritize digital media literacy to teach users how to spot and report misleading content.208 In
addition, data should be well protected and responsibly shared for academic research that
furthers the study of disinformation.209 At the content level, social media companies should
quickly remove material that violates policy. To ensure that this critical task receives ade-
quate attention, companies should hire someone to oversee “company-wide responsibility for
combating false information”—and, critically, give them the budget and authority to carry out
their mandate. 210 Decisions to take down content should be governed by clear criteria that
illustrates the “connection between facts, rational argument, and a healthy democracy.”211 In
addition, companies should develop and maintain a robust appeals process run by employees
not involved in the initial decision.

At the company level, executives should design algorithms to reduce “the outrage factor” and
thereby diminish falsehoods. Regular training should be provided to staff on current threats
and “to exchange views on the potential for further improvement.”212 Companies should sup-
port “narrow, targeted government regulation” that does not infringe on users’ rights to free
speech—focusing on things like political advertising and disinformation prevalence measures.213
Lastly, companies should intensify cooperation with other platforms to share best practices.214



  SECTION 1.4 KEY RESOURCES:

  • Chatterji, Aaron K., and Michael W. Toffel. “The New CEO Activists.” Harvard Business
    Review 96, no. 1 (January 2018). https://hbr.org/2018/01/the-new-ceo-activists.

  • “Business for the Rule of Law Framework.” United Nations Global Compact, 2016,
    https://www.unglobalcompact.org/library/1341.

  • Deb, Anamitra, Stacy Donohue, and Tom Glaisyer. “Is Social Media a Threat to Democracy?”
    The Omidyar Group. October 1, 2017, https://www.omidyargroup.com/wp-content/
    uploads/2017/10/Social-Media-and-Democracy-October-5-2017.pdf.




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        People queue to enter
        the voting booths at a
     polling station during the




                                  5. Conclusion of section 1
                                  This section reviewed the challenges faced by four major kinds of actors with capacity to
                                  promote democracy within their own nations: the incumbent political establishment; political
                                  opposition; civil society and independent media; and private enterprise. Throughout, we out-
                                  lined challenges faced by each group, as well as strategies they might employ to improve odds
                                  of success. The next section explores how international organizations and foreign partners
                                  can best support domestic actors. But before transitioning to international actors, we would
                                  be remiss if we did not say a word about the role of the individual citizen.

                                  As we have argued, those who lead in international organizations, politics, business, and civil
                                  society all have critical domestic roles to play in the defense of democracy, and this section
                                  has surveyed strategies they might choose to do so. Yet just as important to democracy as
                                  leaders are ordinary citizens. At the end of the day, democracy expresses the will of the people,
                                  and the choices made by ordinary people shape the spirit of the governing order. Not every

                                  joining a civil society organization, or even attending a demonstration. However, everyday
                                  choices can have an important impact on the democratic process.

                                  That is no less true in countries where democracy is under threat. While the full literature on
                                  this subject is beyond our scope,215 Timothy Snyder’s recommendations for people in such
                                  nations are a suitable coda to this section. First, of course, citizens should vote, ensuring the
                                  continued existence of multi-party elections.216 When possible, they should take part in state
                                  and local elections in addition to national contests. Beyond merely voting, Snyder calls on
                                  people to reject symbols of hate and exclusion, refrain from repeating divisive and extremist
                                                                                                                                  -
                                  nize the importance of democratic institutions in their daily lives, being sure not to take them
                                  for granted. As Snyder puts it, “choose an institution you care about—a court, a newspaper,
                                  a law, a labor union—and take its side.”217



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     SECTION 2: International
     actors and external assistance
     By Torrey Taussig and Alina Polyakova
                                                                                                      in Madrid.




I democracy actors. This section highlights best practices of engagement for U.S. actors
  (including Congress, the Department of State, and USAID); donor partners and foundations;
                                                                                            -
ular how support from this set of international actors can aid domestic NGOs, bolster civil
resistance and nonviolent movements, counter disinformation campaigns, and push back
against illiberal governments’ use of corruption and repression. The following best practices
and policy recommendations stem from the operating assumption that democratic govern-
ments and international organizations can and should continue to support and strengthen
democracy globally, and particularly in countries experiencing backsliding, and where inter-
national actors have the most leverage.

Maintaining strong relations across democratic states through economic, political, informa-
tional, and social ties has historically helped to generate and maintain democratic institutions.
Support from external pro-democracy actors is even more important in an increasingly con-
tested international environment of global democratic stagnation. Now more than ever in
the post-Cold War era, powerful authoritarian states such as Russia and China are lending
support and presenting an alternative governance model to bolster the strength of illiberal
regimes in Europe and elsewhere. They are also subverting and weaponizing digital technol-
ogies—once thought of as a boon to global democracy—to develop and export models of
digital authoritarianism.




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                    As Gene Sharp notes, “the main brunt of the struggle must be borne by the grievance group
                    immediately affected by the opponents’ political elite. Third party action can be seen as at best
                    supplementary and complementary to internal resistance, never as the main actions of the
                    struggle.”218 An indirect approach to supporting democracy by international actors and foreign
                    governments thus works best. These outside actors should aim to empower local actors not
                    by managing them but by collaborating with them to incentivize democratic reforms, support
                    organic democratic development, and empower an active pluralistic civil society.



                    states. Efforts to leverage trade or aid in support of democratic outcomes may not be effective
                    with states less dependent on trade with or aid from the relevant outside actors.219 Despite
                    these limitations, democratic foreign governments and international institutions have their
                    own toolkits to promote and support free and fair elections, rule of law, freedom of the press,
                    and human rights, and to counter democratic backsliding, particularly in countries where
                    recently established democratic institutions are coming under attack. But foreign economic

                                                                                                                    -
                    able to democratic rules and principles.




                    1. Partnering with domestic CSOs and NGOs

                      SUMMARY

                      International actors should partner with domestic CSOs and NGOs by:220
                      • Going local. Foundations and other international donors should enhance
                        collaboration with local NGOs such that external support to well-established,
                        well-known, and Westernized organizations is balanced with cooperation with
                        local entities.

                      • Building basic capacities. Where local NGOs lack the capacities of more
                        established organizations in national capitals, donors can help develop basic

                         resources management.

                      • Coordinating donor support. A multiplicity of foreign donors can overwhelm a
                        recipient organization’s bandwidth and undermine their effectiveness through
                        competing demands and priorities. Establishing networks of donors supporting
                        democracy and coordinating support across organizations would help to
                        mitigate the problem.




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  • Responding to government attacks on NGOs. External actors including donors,

     high-level responses to government authorities’ restrictions on NGO activities,
     while taking steps to avoid the perception that activities are solely externally
     driven. In more supportive environments, donors and governments should
     vocally promote laws that safeguard NGOs and activists to help create an
     environment that is conducive to their activities.

  • Empowering nontraditional actors. Donors should help develop pro-democracy
    networks of actors such as businesses, individuals, universities, student
    groups, and think tanks. In parallel, efforts should be made to help establish
    mechanisms and incentives to induce well-established NGOs to provide training
    to the less well-established groups. Such training needs to be relevant to the
    location and culture.

  • Developing local sources of funding and philanthropy. Particularly in countries
    that are at risk of democratic backsliding, donors should help NGOs diversify
    their external support, develop local sources of funding, and build local habits
    of corporate philanthropy to help build sustainable civil society ecosystems
    over time.



Civil society organizations (CSOs) and non-governmental organizations (NGOs) in both
emerging and backsliding democracies are important partners for international engage-
ment.221 Although international actors and foreign governments have supported domestic
NGOs for decades, CSOs did not emerge as a focal point for external support until the
late 1980s and early 1990s, as donors grew frustrated with operating through corrupt and
uncommitted state institutions.222 At the time, leading academics were also embracing
neo-Tocquevillian ideas about the relationship between civil society and democracy. Robert
Putnam argued that civil society built social capital by facilitating cooperation, building trust,
and encouraging solidarity.223 Similarly, Larry Diamond suggested that civil society was vital
for democratic consolidation.224

The “third wave” of democratization swept across Southern Europe, Latin America, and Central
and Eastern Europe between the 1970s and the 1990s, and was most prominently captured
with the citizen-led protests that toppled the Berlin Wall and facilitated the Central and Eastern
European democratic transitions of 1989. International donors came to see civil society as
a “domain that is nonviolent but powerful, nonpartisan yet prodemocratic, and that emerges
from the essence of particular societies, yet is nonetheless universal.”225 The 1990s witnessed
the “NGOization” of civil society, and aid from the West increased massively.226 The number
of NGOs and other CSOs skyrocketed, and between 1970 and 2000, there was a sevenfold
increase in resources transferred through international NGOs.227




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                    NGOization, however, did not start out as an inclusive endeavor.228 Foreign governments, foun-
                    dations, and other donors initially preferred to work with Western NGOs. Collaboration with
                    local NGOs was generally limited to organizations based in a country’s capital and resembled
                    patron-client relationships as opposed to more equal partnerships. This proved costly and
                    unsustainable.229
                    genuine relationships with local citizens and organizations. In Russia, for instance, citizens
                    “repeatedly rejected what they saw as a paternalistic model positioning them as recipients
                    of aid and instead advocated for equal partnerships in the design and delivery of projects.”230

                    EU funding to CSOs in Bosnia and Herzegovina, Cyprus, and Georgia also point to a risk
                    of widening disconnects between CSOs and the public. EU funding has incentivized many
                    domestic NGOs in these countries to prioritize EU-friendly projects that are more short-term
                    and measurable. 231 In each country, there are a handful of organizations that are selected

                    English and familiar with the application and report writing process. Consequently, an “elitist
                    civil society sector” has emerged.232 And, as Sarah Bush has argued, Western democracy
                    assistance programs have contributed to a “taming” of democracy promotion by shifting
                    to the support of technical programs rather than those aiming at transformative change.233

                    This elitist civil society sector’s power is reinforced by the media, which calls upon rep-
                    resentatives from those organizations to provide input on certain issues. This cycle has
                    harmed grassroots organizations and distanced many big CSOs from the public.234 In Cyprus,

                    “externally driven,” while those in Bosnia and Herzegovina see them as corrupt entities.235
                    Understandably, confusion emerges as a result of this divide, with many citizens not being
                    informed about how foreign funding works, how CSOs operate, and what their goals are.

                    In response to these weaknesses and criticisms, external assistance became a more local
                    endeavor starting in the mid-1990s.236 “Going local” was cheaper and more effective, and
                    external actors and donors began to prefer working with local NGOs because of their many
                    comparative advantages.237 This remains true today, although working with local and less well-
                    known organization also has its drawbacks. In terms of their strengths, they can be deeply

                    government actors, maintain clear goals and professional structures that match donor needs,
                    and are better trained to organize pro-democracy movements. Advocacy NGOs in particular
                    can aggregate citizen demands and push for government action and accountability, acting
                    as a “transmission belt” between civil society and the state.238 Local NGOs, however, can have

                    powerful political contacts.239

                    External assistance to CSOs and NGOs in Kosovo make it clear that international donors

                    when it comes to working with partners on the ground.240 Some organizations such as the
                    German Friedrich Ebert Stiftung have employed local staff and consult with them, while



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others have more formal processes.241 For instance, the EU has held multi-level consultations
with various local actors, while the Swiss Agency for Development and Cooperation and the
Swedish International Development Cooperation Agency have sent delegations to Kosovo
while interacting with domestic actors through formal institutions, like advisory boards. Other
donors rely more on reports and data to shape their approach: the UN Kosovo Team is guided
by its own Human Development reports as well as the UN Sustainable Development Goals
(SDGs) and Kosovo’s European integration agenda, which already have input from Kosovo
specialists and groups operating in the area.242



A. ADDRESSING RESTRICTIONS ON CSOs AND NGOs
Over the last decade, illiberal government actors intent on consolidating power have taken
steps to restrict the activity of independent NGOs by enacting censorship laws; restricting free-
dom of assembly; banning or limiting foreign funding; requiring approval by the government
for operations; creating registration requirements; not issuing visas to employees of foreign
partner organizations; and labeling NGOs as foreign agents.243 Another complicating factor is
when regimes sponsor or create NGOs or GONGOs (government-organized non-governmental
organizations) to further their own political interests. GONGOs can confuse external actors



Restrictions on NGOs—especially foreign-funded ones—date back to the post-cold war
years.244 In the aftermath of major waves of decolonization that took place in the 1950s and
1960s, external actors tended to give aid—which was aimed at facilitating socioeconomic
development as opposed to political reform—directly to governments. This was a way of
respecting the agency of newly independent recipients wary of continued Western inter-
ventionism, given their colonial history.245 But by the end of the Cold
War, donors were focused on democracy promotion and preferred to
channel aid through NGOs.246 Initially, governments in countries with      In recent years, the overall
a growing third sector didn’t see NGOs and democracy assistance as
a threat—a perception that was reinforced by the end of the Cold War,      environment for CSOs in
which reduced concerns about Western interventionism.247                   Central and Eastern Europe
However, NGOs quickly became prominent and powerful. Their
                                                                              has been deteriorating, a
development worried host governments, who reacted by restrict-              development closely connected
ing the ability of NGOs to receive foreign aid. These regulations
                                                                            to the rise of illiberal populism
                                                248

were exacerbated by the “color revolutions” in the early 2000s,
which showed the world the capacity of opposition parties and               in the region.
organizations that received Western support.249 Between 1993
and 2012, more than a quarter of low and middle income coun-
tries enacted laws (e.g., administrative burdens, limitations on the use of foreign funds,
reporting requirements, and high taxes) that restricted foreign contributions to local NGOs.250




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                    In recent years, the overall environment for CSOs in Central and Eastern Europe has been
                    deteriorating, a development closely connected to the rise of illiberal populism in the region.
                    Governments in many Central and Eastern European countries have been cracking down on
                    NGOs. In 2017, Hungary passed an act on “the transparency of organizations supported from
                    abroad” similar to Russia’s “foreign agent” law discussed below.251 The law requires a CSO that
                    receives funding from foreign sources above a certain amount register as “foreign funded”
                    and label itself as such on all publications and websites.252
                    kind in an EU member state, also includes stringent reporting requirements. Noncompliance is

                    passed laws that have imposed burdensome restricting requirements and administrative
                    duties on foreign-funded NGOs.253 That being said, there have been some positive devel-
                    opments. Macedonia’s VMRO-DPMNE Party, which had overseen democratic backsliding,
                    attacks on civil society, and a spree of nationalist building projects, lost power to the more
                    pro-democracy Social Democratic Union of Macedonia in 2017.254 Prioritizing joining NATO
                    and the European Union, the new government resolved the country’s long-standing name
                    dispute with Greece and has accelerated governance reforms.255

                    Lawmakers understand that adopting legislation that hampers civil society comes at a cost.
                    In enacting restrictive legislation, governments risk being named and shamed by the inter-
                    national community, losing valuable services provided by NGOs, and being met with public
                    disapproval. Yet governments often think that these costs are outweighed by political sur-
                    vival, which can be threatened when civil society, and society as a whole, is empowered to
                    demand accountability, rights, and democratic rule, and takes active steps to pursue these
                    goals. Governments fear, and rightfully so, that external support and international attention
                    can facilitate their efforts.




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Crackdowns that draw the most attention tend to take place in semi-authoritarian or com-
petitive authoritarian regimes, who try to retain some form of legitimacy in the eyes of the
international community (e.g., through pluralist elections or allowing some NGOs to do advo-
cacy work) while hampering challenges to the regime.256

Common forms of restriction include: 257

• Hampering civil society: enacting censorship laws and restricting freedom of assembly;

• Targeting foreign funding and support: banning or limiting foreign funding, requiring its
  approval by the government, creating registration requirements, and not issuing visas to
  employees of foreign partner organizations; and

• Intimidation and harassment: labeling NGOs as foreign agents, threats to public order,
  violent actors, or even terrorists, suing activists, and carrying out
  illegitimate audits.
                                                                                Donors should also
In light of these repressive tactics, international donor responses matter.
When international organizations, including aid agencies, take decisive         diversify support among
action to signal disapproval of attacks on civil society and rule of law,       smaller and nontraditional
governments are forced to respond. Uncoordinated action can have the
opposite effect of facilitating further attacks on civil society.258 Based on
                                                                                recipients in order to
these assumptions, below is a series of best practices and case studies         go around repressive
to help international actors assess both the pros and cons of partnering
with domestic NGOs.
                                                                                government policies.


B. COORDINATING AND DIVERSIFYING SUPPORT
The multiplicity of donors operating in similar spaces and with similar organizations on the
ground can overwhelm recipients’ bandwidth and even undermine their effectiveness through
competing demands and priorities. To address this, donors should coordinate and diver-
sify their support. One possible model of pro-democracy networking is the Community of
Democracies that works with civil society to coordinate the efforts of their member states for
democratic processes and institutions.259 As illiberal governments implement restrictive laws
targeting foreign funding of civil society organizations, it is important to foster coordination
among like-minded donors as well as among local organizations. Responses include creat-
ing platforms (e.g., in international organizations) for activists who have been affected by a
closing civil society space and bringing domestic NGOs together to develop joint responses
to restrictive government policies. A lack of systematic, coordinated, and high-level responses
to government authorities’ restrictions on NGO activities opens more opportunities for heavi-
er-handed approaches that will further hamper local actors’ freedom of operation.

Donors should also diversify support among smaller and nontraditional recipients in order
to go around repressive government policies that target well-known and more Westernized




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                    CSOs. This involves providing aid through smaller grants (and therefore developing small
                    grant funding models) to less Westernized groups and local organizations operating outside
                    the capital cities.260 It also involves working to empower nontraditional actors such as busi-
                    nesses, individuals, universities, student groups, and think tanks.261 For example, one way

                    In parallel, efforts should be made to help establish mechanisms and incentives inducing

                    training to the less well-established groups.



                    C. PLANNING IN ADVANCE AND DEVELOPING CORE CAPACITIES
                    In countries that are at risk of democratic backsliding, donors should help CSOs and NGOs
                    develop local sources of funding and build local habits of corporate philanthropy—all of which
                    can build sustainable civil society ecosystems over time. Donors can also help organiza-

                                        resources management, rather than just providing support for project
                                        activities with limited time horizons. Kosovo in recent decades has proven
Donors should help                      why it is important for external actors to help develop basic capacities
CSOs and NGOs develop                   among native CSOs and NGOs. In the 1990s, external donors and orga-
                                        nizations did not enter Kosovo with hopes of supporting democratization
local sources of funding                by collaborating with young CSOs. Instead, they came in as part of an
and build local habits of               emergency, attempting to balance the provision of humanitarian aid and
corporate philanthropy—                 the facilitation of peacebuilding in the aftermath of a devastating bloody

all of which can build                  needing to “depend entirely on international donor funding.”262 Second,
sustainable civil society               there are “no developed NGO networks with relevant and appropriate
                                        capacities for advocacy, project management, service provision, or basic
ecosystems over time.                   community development,” save for a few in the capital, Pristina.263

                                       As the political situation in Kosovo changed (e.g., with the declaration of
                    independence in 2008), so did donor priorities. External actors such as the EU now work on
                    democracy promotion by collaborating with government institutions and NGOs. However,
                    early enthusiasm from external actors proved that funding NGOs’ initiatives is not enough to

                    and equip them with important skills like advocacy and grant management.

                    In more supportive environments, external actors should vocally promote laws that safe-
                    guard NGOs and activists and create an environment that is conducive to their activities
                    (e.g., recognizing freedom of speech and peaceful assembly). One example is Article 56
                    of Montenegro’s Constitution that states that “Everyone shall have the right of recourse to
                    international organizations for the protection of their own rights and freedoms guaranteed by




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the Constitution,” thereby welcoming NGO and activist access to international organizations
where they can advocate for their causes.264

In countries where governments employ narratives of “hypersovereignty” to restrict civil
society actors, foreign governments and international organizations should work toward
reversing and/or mitigating restrictions through diplomatic pressure and sanctions on the
home government.265 Condemnation of repressive tactics should be issued immediately and
pressure applied (even if it solely rhetorical) consistently. Meanwhile non-government actors
can encourage citizens to support NGOs in any way that they can (e.g., protests, donations,
lobbying, advocacy, citizen journalism). Donors should keep in mind that illiberal governments
tend to target NGOs after favorable national elections, when they can justify their actions with
the veneer of democratic legitimacy on nationalist/sovereignty grounds by painting NGOs
as foreign agents.

To foster greater resiliency before restrictions occur and in places where backsliding is already

longer-term support for independent civil society and investigative independent media in
Central Europe, with Hungary and Poland as the most urgent priorities. This funding program
should prioritize projects that will demonstrate to communities outside of national capitals

improve government accountability and transparency through in-depth investigative reporting
on, for example, misuse of public resources.266 In addition, donors can encourage NGOs to
develop productive relationships, when possible, with central and local governments, moving
away from the idea that advocacy NGOs must naturally take a completely independent, or
even antagonistic, stance toward their governments.



  SECTION 2.1 KEY RESOURCES

  •
      Activists and Organizers.”                                       , January 10, 2019.

      support-grassroots-human-rights-activists-organizers.

  • Carothers, Thomas. Aiding Democracy Abroad: The Learning Curve. Washington, DC:
    Brookings Institution Press, 2011.




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                    2. Assisting civil resistance and nonviolent movements

                      SUMMARY

                      International actors should assist civil resistance and nonviolent movements by:
                      • Developing clear criteria for providing support. Civil resistance movements
                        involve many actors and organizations. It is therefore important to make
                        informed decisions about whom to support both during and after civil resistance
                        campaigns. Baseline criteria for a campaign to receive support should include:
                        a public commitment to nonviolence; campaign goals that are consistent with
                        internationally recognized human rights; and clear independence from registered
                        political parties (although total electoral disengagement is not a prerequisite).267

                      • Thinking long-term. There is always work to be done in the aftermath of
                        successful civil resistance campaigns. This involves supporting newly empowered
                        political actors and taking steps to avoid a power vacuum. These political actors
                        must be trained in policymaking and processes of deliberative governance.
                        Building democratic governance institutions and processes can take years and
                        requires patience from all actors involved.

                      • Establishing the local context.
                        internal partners within a jurisdiction, a starting point for external support must
                        be understanding the local context and expressed needs of local activists. This
                        knowledge transfer should occur through frequent interactions with a broad range
                        of civil society and other local actors.

                      • Promoting local ownership. External support to nonviolent movements, while

                        homegrown movements. Support that is poorly administered can also be detrimental
                        to their success. Therefore, it is critical to advance local ownership and involvement.
                        This can help prevent possible free-riding and encourage domestic support from those
                        who might have concerns about association with a foreign actor.268

                      • Focusing on training and skills development. Invest in developing and sharing
                        knowledge across civil resistance and movement organizing, so that activists have
                        greater opportunities for learning and cultivating skills.

                      • Helping to boost the efforts of independent media. Independent journalism plays an
                        important role in raising awareness of and supporting the goals of civil resistance
                        and nonviolent movements. Enhancing media effectiveness should involve training
                        journalists inside and outside of resistance movements. Independent journalists and
                        news outlets need to be sensitized to the dynamics of civil resistance movements,
                        and nonviolent activists must be trained as effective spokespeople for their causes.




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A. DEFINING CIVIL RESISTANCE AND NONVIOLENCE

technique used to control, combat, and even destroy the opponents’ power by nonviolent
mean of wielding power.”269 Generally, it emerges when political, economic, or social griev-
ances go unaddressed with no feasible way to enact change in the status quo.270 It tends
to occur when more traditional channels including dialogue negotiations and institutional
processes such as elections and legal recourse fail to produce results.



B. WHY SUPPORT CIVIL RESISTANCE, AND WHOM TO SUPPORT?
Why should international actors support civil resistance and nonviolent movements?
They work. One reason for their success is that they tend to attract sympathetic international
attention, especially when the regime responds disproportionately. This attention can be
highly valuable. For instance, international divestments, sanctions, boycotts, and even barring
sports teams from international competitions, all played important roles in ending apartheid
in South Africa.

In recent decades international actors have provided various types of assistance to civil
resistance campaigns through diplomatic engagement, material support, sanctions, and
international coverage.271

Steps supported by external actors include:

• Challenging government cover ups through investigations and reports;

• Bringing issues and civil resistance leaders to multilateral institutions (e.g. EU, UN, OAS,
  G-7) to bolster their international legitimacy;

•

• Developing and sharing knowledge about civil resistance and movement organizing, so
  that activists have greater opportunities for learning and cultivation of skills; 272

• Monitoring and attending trials of political prisoners;

• Attending protests, activist trials, and vigils; 273

• Supporting independent media;

• Pressuring the government to enact changes or step down; and,

• Creating safe spaces for activists to meet and organize.

These forms of assistance have helped to promote the aims of civil resistance movements
and enforce human rights standards in oppressive environments.




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                        Civil resistance movements involve many actors that coordinate actions, recruit participants,
                        and inform the international community. As such, it is important for external actors to make
                        informed decisions about whom to support during and after civil resistance movements.274

                                                                                                         275
                                                                                                               Diplomats

                        and they can facilitate meetings between government supporters and opposition groups.276
                        Domestic CSOs and NGOs are also powerful partners, as they tend to be more informed about
                        the situation on the ground, less constrained by bureaucracy and sovereignty laws, and better
                        trained to organize resistance movements.

                        More broadly, Hardy Merriman and Peter Ackerman of the International Center of Nonviolent
                                                                                                                     -
                        mitment to nonviolence and calls for nonviolent discipline from all supporters; campaign goals
                        that are consistent with internationally recognized human rights, as outlined in the Universal
                        Declaration of Human Rights; and maintaining independence from registered political parties
                        (although total electoral disengagement is not a prerequisite).277

                 In terms of timing of support, there are two additional elements for external actors to keep
                 in mind. First, there is still work to be done in the aftermath of a successful civil resistance
                 campaign in order to support newly empowered political actors and avoid a power vacuum.
                                      As leaders of a successful movement and new political parties move onto
Building democratic                   the political stage, they must be trained in policymaking and processes
                                      of deliberative governance, such as participatory budgeting.278 Second,
governance institutions               building democratic governance institutions can take years and requires
can take years and                    patience from external actors. Supporters must avoid buying into the
requires patience from                “graduation myth” that countries become immediately stable, democratic,
                                      and peaceful after a certain combination of years and funds.279
external actors.

                        C. UNDERSTANDING THE OPERATING ENVIRONMENT

                        discussion of external support must be understanding the domestic context and expressed
                        needs of national and local activists. This knowledge transfer should occur through frequent
                        interactions with a broad range of civil society actors. External organizations and institutions
                        must also be aware of the legal, political, and social constraints faced by activists. According
                        to Hardy Merriman of the ICNC, civil resistance movements face daunting challenges to build-
                        ing unifying visions and networks of trust; eliciting broad participation and mobilization; and

                        is developing local and national level strategies that work in unison to challenge powerholders
                        and institutions.280 For external actors to support these goals, a deep understanding of the
                        operating environment and range of actors engaged in civil resistance movements will help
                        to better coordinate resources and avoid duplicative efforts.



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D. PROMOTING LOCAL OWNERSHIP
While external support for civil resistance movements can be incredibly valuable, it can also be
detrimental to their success—a risk that all international actors must take into consideration
when considering support of domestic campaigns. Governments can use external assistance
to delegitimize homegrown movements, portraying them as foreign agents. Moreover, large
amounts of funding that are poorly administered can destroy resistance movements inter-
nally. While we believe that external assistance to movements can do more good than harm,
it is important that international actors make every effort to encourage local ownership.281
Deep knowledge of the national and local context can help avoid (although not entirely) the risk

people.282 Local involvement can help prevent free-riding as well as the dissuasion of locals
who might choose not to participate in order to avoid being associated with a foreign actor.283

One successful example of civil resistance came in the late 1980s and
early 1990s, when citizens in Lithuania, Latvia, and Estonia initiated efforts   A key component to civil
to gain independence from the Soviet Union.284 The West was initially
reluctant to help the Baltic states, whose governments were declaring            resistance movements’
their sovereignty and condemning military occupation by the USSR,                success is developing
though the longstanding policy of the United States of not recognizing
their incorporation into the Soviet Union gave symbolic assistance to
                                                                                 local and national level
the uprisings.285                                                                strategies that work
                                                                                 in unison to challenge
The independence movements cooperated across Estonia, Lithuania,
and Latvia, with some backing from other nationalist movements in the            powerholders and
USSR. Activists shared tactics and ideas, and they coordinated protests.286      institutions.
Perhaps one of the most memorable manifestations of this cooperation
was the Baltic Way demonstration of August 23, 1989, that saw approx-
imately two million people form a human chain across Estonia, Latvia,
and Lithuania. Organizers across the Baltics worked together to map the chain, organize
transportation to maximize participation, and disseminate information about the protest.287



E. PROVIDING TRAINING AND SKILLS DEVELOPMENT
To support in-country efforts, training and mentoring in strategic nonviolent action and
coalition building can help improve the skills and effectiveness of local activists. Trainings
(in-person and virtual) should highlight practical ways to maintain nonviolent movements in
repressive environments including: codes of conduct, lessons of dealing with security forces,
and diversifying tactics to maintain resiliency. Training in activities such as political party
development, voter mobilization, and election monitoring can complement support for civil
resistance activities.288 Trainings—online and in person—can also be facilitated by convening
diverse actors engaged in a civil resistance movement from across the political and NGO
spectrum to coordinate and share best practices, and to help convene and recruit participants.




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                          In Serbia, international support and trainings helped end the repressive regime of Slobodan
                                                                                                                        289
in Brussels, Belgium.


                          group Otpor. It drew the support of hundreds of thousands of people in Serbia, and received
                          support from various international actors. Otpor received aid and trainings from two American
                          organizations, the National Democratic Institute (NDI) and the International Republican
                          Institute (IRI), and the Serbian organization Center for Civic Initiatives gave copies of Gene
                          Sharp’s foundational work From Dictatorship to Democracy to demonstrators.290

                          External actors also helped counter government censorship of independent media outlets
                          such as the Serbian broadcaster Radio B92. When domestic outlets were censored or shut
                          down, foreign outlets like the BBC and VOA broadcast some of their content.291 Furthermore,
                          external actors like the EastWest Institute understood the importance of bringing activists
                          together. They started the Bratislava Process in 1999 by facilitating meetings between anti-Mi-

                          to “build a broad coalition of all relevant democratic actors in Serbian society and friends from
                          the international donor community.”292
                          some of these meetings and provided advice and aid.293

                          In Georgia, external actors who had experience in civil resistance against repressive regimes
                          worked with Georgian activists prior to the Rose Revolution in 2003, which ousted the
                          entrenched authoritarian President Eduard Shevardnadze. Giga Bokeria of National Movement
                          and Levan Ramishvili of the Liberty Institute met with Otpor activists in Belgrade in the spring,
                          and young Georgian activists were trained by Otpor volunteers in the summer.294 Georgian




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outcome,” also received assistance from international actors seeking to support civil soci-
ety: the U.S. government, the EU, the World Bank, and other organizations like the Eurasia
Foundation gave hundreds of millions of dollars to the “third sector” of Georgia, which helped
push for democratization and helped organize protests.295 For example, the Georgia-based
International Society for Fair Elections and Democracy, which received Western funding,
helped train election monitors, conducted exit polling, and coordinated protests.296 That said,
it is important to note that many Western governments had supported Shevardnadze in the
past (he had even been awarded the National Democratic Institute’s Harriman Democracy
Award for leadership in democracy and human rights), which helped legitimize his regime. 297



F. BOOSTING EFFORTS OF INDEPENDENT MEDIA
As noted earlier in this report, independent journalism has played histor-
ically important roles in raising awareness of and supporting the goals
                                                                                Independent journalism
of civil resistance and nonviolent movements. Enhancing media effec-            has played a historically
tiveness involves training inside and outside of resistance movements.          important role in
From the outside, independent journalists and news outlets need to be
“sensitized to the dynamics of civil resistance;” on the inside of move-        raising awareness of and
ments, nonviolent activists must be trained as effective spokespeople           supporting the goals
for their causes.298 Traditional media outlets including television, print,
                                                                                of civil resistance and
voices critical of government policies. Social media outlets are harder         nonviolent movements.
for government forces to regulate and can highlight shared grievances,
expose regime propaganda, present governance alternatives, and facili-
tate communication among local activists.



G. UKRAINE’S ORANGE REVOLUTION: A CASE STUDY OF EXTERNAL SUPPORT
TO CIVIL RESISTANCE MOVEMENTS
Ukraine’s nonviolent Orange Revolution of 2004 helped to bring the democratically elected
Viktor Yushchenko to power after widespread election fraud had resulted in the victory of
Prime Minister Viktor Yanukovych.299 External actors, including USAID, the Westminster
Foundation, National Endowment for Democracy (NED), and the Alfred Moser Foundation
had been supporting Ukrainian civil society for several years prior to the election.300 Ongoing
efforts included running seminars on civil society activism and democratic principles.301 One
of the leading organizers of the Orange Revolution, Pora (meaning, “It’s Time”), received grants
from the German Marshall Fund, Freedom House, the Canadian International Development
Agency, and others, helping them to spread awareness about their movement and develop
their organizational capacity.302 Pora also received assistance from other groups that had



to strategize.303




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                    Diplomats coordinated their actions, at times using their own embassy funds to fund inde-
                    pendent media outlets like Ukrainska Pravda and exit polls.304 They also used their diplomatic
                    immunity to protect activists. For example, on October 23, security services attempted to
                    search the house of Pora leader Vladyslav Kaskiv; their entry was blocked by two members
                    of parliament from the opposition (who had parliamentary immunity), three diplomats from
                    France, and some representatives from the OSCE and European Commission. Eventually, the
                    security forces withdrew.305 Moreover, international representatives on both sides of the con-

                                                                                                                   306




                      SECTION 2.2 KEY RESOURCES

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3. Countering disinformation

  SUMMARY

  International actors should counter disinformation by:
  • Supporting independent media organizations and CSOs working to expose
    disinformation campaigns. International actors should use targeted funding to
    support the investigative capacities of domestic watchdog groups that monitor and

     harassment and censorship, raids of independent news outlets, and other abuses of


  • Investing in and expanding organizational capabilities. The EU, NATO, G-7 and
    other international organizations should invest in and expand capabilities for
    monitoring disinformation campaigns emanating from foreign actors.

  • Enhancing communication between democratic governance and social media
    companies. Establish better communication and information sharing processes
    between social media companies and democratic governments.

  • Advancing pro-democracy messaging. Develop positive narratives around
    democratic values and principles to counter anti-democratic ones.



Russia has pioneered a toolkit of digital and traditional disinformation to undermine democ-
racies.307

West and liberal democracies, and suppress independent domestic voices.308 After Vladimir
Putin came to power in 2000, the Russian government moved to consolidate control over
domestic media and co-opt the digital domain. It did so by placing media networks in the
hands of pro-regime oligarchs, using the police and intelligence agencies to harass indepen-
dent journalists, shutting down independent news outlets under trumped-up charges, labeling

networks to spread disinformation narratives.309



among the most vulnerable groups in Russia today. Anna Politkovskaya, a prominent Russian
investigative journalist and human rights activist reporting on the Russian government’s brutal
activities in Chechnya, was gunned down in her apartment building in 2006 after years of
intimidation and violence against her.310
turned anti-government opposition leader, was assassinated near the Kremlin in 2015.311
Other opposition leaders are routinely harassed, searched, and face cyber and disinforma-
tion attacks by Russian government proxies. During non-violent protests in 2011–2012312
and 2019,313 Russian opposition leaders, student activists, and protesters were arrested and


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                                                                                  sentenced to jail time. In the time since,
                                                                                  the government’s security services have

                                                                                  nation-wide raids on opposition move-
                                                                                                  314




                                                                                  Indeed, for decades, Putin’s regime has
                                                                                  been crafting an increasingly repressive
                                                                                  and nuanced legal and administrative appa-
                                                                                  ratus to expel foreign NGOs and impose
                                                                                                                              -
                                                                                  cial support from foreign sources—public
                                                                                  or otherwise.315 The process began in 2006
                                                                                  with a federal law that put initial limits on
                                                                                  access to information by so-called undesir-
                                                                                  able foreign NGOs. This law was followed
in Malaga, Spain.
                           by multiple amendments and a 2012 law that requires any CSO receiving foreign funding to
                           register as a foreign agent.316 A 2015 legal extension allows the Kremlin to ban any organization
                           it considers undesirable, de facto creating a blacklist of organizations.317 The Kremlin applies
                           the “foreign agent,” “undesirable,” or “extremist” labels to any organization that challenges the
                           government.318
                           in Russia.319 Put together, these measures have set up a complex legal web of repression while
                           granting the Russian government the power to block access to information that it designates
                           extremist or undesirable, including any distributed information appealing for public protest.

                           As a result, well known international NGOs such as the MacArthur Foundation, NED, Open

                           as undesirable foreign agents.320 USAID is also banned from operating in Russia.321 And local
                           CSOs, particularly those with a focus on democracy, human rights, electoral transparency,

                           that they are not foreign agents or refusing to voluntarily register as such.322 In this repressive
                           environment, foreign actors’ abilities to support local actors have been limited to supporting
                           independent media and CSOs that have moved operations abroad or using passthroughs to
                           get very limited funding for groups still operating in Russia.323

                           The Kremlin’s consolidation of traditional media (e.g. television networks and newspapers)
                           in the hands of government linked oligarchs has allowed the regime to control domestic
                                                             324
                                                                 More recently, the government has moved to force tech
                           companies and other digital media platforms, such as Tinder, to provide data access to gov-
                           ernment agencies, most notably the intelligence services.325 As with NGOs and CSOs, the
                           Kremlin erected a complex legal structure that, among other things, requires companies to
                           install surveillance hardware on their systems, store data in Russia rather than abroad, and
                           give away encryption keys to the Russian security services.326 With these tools, the govern-
                           ment is able to monitor communications between individuals and groups, acquire personal



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information, and monitor online activities on social media platforms. Using this suite of tradi-
tional and digital media resources and surveillance capabilities, the Kremlin is able to control
messaging at home and attack opposition activists.327

Abroad, Russian state-funded outlets, such as RT and Sputnik, and Russian-linked social
media entities (e.g., trolls, bots, cyborgs) lend support to far-right political movements and
like-minded governments while propagating anti-democratic narratives and content.328 This

and criticism in their own countries.

In addition to supporting independent local media, as outlined above,
international actors should help support domestic watchdog groups that           International donor
                                                                       -
cial schemes, journalist harassment and censorship, raids of independent         organizations should fund
                                                                                 local media outlets that
space for independent media. When such abuses take place within the
EU, for example in Hungary, the EU should take immediate steps to pub-
                                                                                 identify disinformation
licly condemn such behavior while pressing for government leaders to be          campaigns.
held publicly accountable for their repressive actions. For example, the
European Commission publicly rebuked the Orbán government’s disinfor-
mation campaign spreading false information about the EU’s migration policy.329 In addition,
international donor organizations should fund local media outlets that identify disinformation
campaigns not only from foreign states, such as Russia, but also those that emanate from
their own governments.

Lastly, the United States, European national governments, the EU, and NATO, should introduce
and enforce transparency standards, including with respect to foreign-origin political and issue
ads on both traditional and social media, and otherwise monitor and notify their publics in
real time about the activities of foreign propaganda outlets. In order to combat disinformation
campaigns, governments should seek to emulate initiatives by EU’s East StratCom, NATO’s
StratCom Center of Excellence in Riga, the Helsinki Hybrid Center of Excellence, and the U.S.
Department of Homeland Security.330



  SECTION 2.3 KEY RESOURCES:

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                                                                                   .

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                    4. Providing foreign government and institutional support

                      SUMMARY

                      Foreign governments and institutions should:
                      • Leverage EU structural funds. The EU should adopt rule of law conditionality
                        for member states to receive structural funds. Conditionally should be imposed
                        fairly across the EU, including in long-tenured member states as well as those
                        that joined in the 2004 and subsequent enlargements. An alternative approach
                        would be to link overall levels of EU funds provided to a member state to a rule of
                        law index, whereby states that score higher on the index have greater access to
                        funds.331

                      • Enhance support for civil society and independent media.
                        the EU, the U.S. State Department, and USAID should increase support for
                        independent civil society and investigative, independent media organizations.
                        More funding should be allocated to countries where checks and balances are
                        under attack, and particularly to organizations operating outside of national
                        capitals.

                      • Encourage NGO-Government relations, when possible. Positive relations between
                        NGOs and central and local governments should be encouraged, when possible.
                        This would help move away from the idea that advocacy NGOs must naturally take
                        a completely independent, or even antagonistic, stance toward their governments.

                      • Prioritize governance and democracy issues.
                        actors within the State Department’s Bureau of European and Eurasian Affairs and
                        the U.S. embassies in countries of concern should engage in ongoing dialogue
                        with ruling political forces. This engagement should prioritize messages that
                        the U.S. does not support democratic rollbacks, infringements on human rights,
                        censoring of independent media, universities and NGOs, and the hindering of


                      • Advance institutional channels. Nearly all European countries are members of
                        the Council of Europe (CoE) and the Organization for Security and Co-operation

                        Human Rights (ODIHR) and CoE members are subject to the European Court of
                        Human Rights and European Commission for Democracy through Law (Venice
                        Commission). The Court of Justice of the European Union (CJEU) has been an
                        important institution for EU member states. While support from these institutions
                        can only go so far (given weak enforcement mechanisms based on member
                        government compliance), they do produce rulings and reports that create a record
                        and that can deter misbehavior by governments that fear reputational damage.




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Foreign governments and international institutions have historically played critical roles
in advancing democratic movements in Europe by placing pressure on governments and
supporting pro-democracy actors. Efforts include orchestrating sanctions, providing press
coverage, creating economic and trade incentives for change, and issuing statements of
condemnation at multilateral fora. The United States in particular, as a leading economic
and democratic power, has tremendous leverage in applying carrots and sticks in pursuit of
democratic outcomes in the region.

At the end of the Cold War and throughout the 1990s, the United States lent support to con-
solidating democratic governance in countries across Central and Eastern Europe. Today,
this support is once again of critical importance. During a time of heightened illiberal and
authoritarian-leaning trends in Europe, it remains a key U.S. interest to bolster democracy at
home and abroad. Scholars, however, point out that this interest should
                                                                    332
                                                                        The
United States has a long track record of both working with authoritarian
                                                                                 During a time of heightened
governments to advance national interests and attempting democratic              illiberal and authoritarian-
advancements that result in unintended consequences. This does not
                                                                                 leaning trends in Europe, it
mean that Washington has not and will not continue to learn valuable les-
sons from past efforts, moving forward with humility and better informed         remains a key U.S. interest
of best practices.                                                               to bolster democracy at
European institutions have also historically been a powerful impetus         home and          abroad.
behind advancing democracy in the region.333 Today, the European Union,
as a supranational quasi-government aiming for “ever closer union among
the peoples of Europe” since the Maastricht Treaty created it from predecessor organiza-
tions in 1992, has the broadest toolkit to advance democratic institutions in prospective
member states, and to a lesser degree in member states.334 These criteria incentivized post-
communist countries like Poland and Hungary seeking admission to democratize their
domestic institutions.335




A. STRENGTHENING PRE-ACCESSION EU TOOLS
Today, the EU’s pre-accession requirements remains one of the EUs most important tools
of leverage to strengthen democracy and rule of law in a country, although they have faded
as an incentive for European countries in recent years. In the accession process, candidate
countries have to adopt a large body of EU law over a number of years; engage in technical
negotiations with the European Commission to open and close 35 chapters of the acquis
communautaire, including on the judiciary and fundamental rights; and face scrutiny and
detailed public reports by the Commission until they meet the Copenhagen Criteria.336



had run the country from before independence in 1993; he was ousted in a general election




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                    EU pressure for the Slovak government “to alter its policies and redress past violations as
                    a condition for NATO and EU membership.”337 Kevin Deegan-Krause notes that the Euro-
                    Atlantic organizations’ demand for respect for institutional accountability was a disincentive




                    Deegan-Krause’s point is also relevant for Turkey and the Western Balkan countries. Elites

                    Copenhagen Criteria requires more reform, rule of law, and accountability than many are
                    comfortable with. Bulgaria and Romania, which joined in 2007, three years after the “big
                    bang” enlargement of other post-communist member states, are also widely perceived as
                    having been given entry before they truly met criteria. They have been subject to additional
                    monitoring and remain outside the Schengen borderless area.



                    B. LEVERAGING POST-ACCESSION EU TOOLS
                    The European Union is more limited in its ability to impose costs on member states that are
                    infringing on democratic institutions and the rule of law at home. On the extreme end of the
                    spectrum, the EU maintains the power under Article 7 of the Treaty on European Union, passed

                    Council as breaching the EU’s founding values of human rights, democracy, and the rule
                    of law. The activation of Article 7 was debated when Austria’s far-right Freedom Party was
                    included in a coalition government in 2000 and mentioned when the French government
                    expelled thousands of Roma in 2009 as well as during a power struggle between President
                                                                                            338




                    However, ongoing examples of democratic backsliding in Poland and Hungary highlight the
                    limitations of Article 7 and other EU institutional responses. In 2015, after eight years of dom-
                    ination of Polish politics by Civic Platform, a center-right party well-regarded in Brussels (its
                    leader Donald Tusk was elected president of the European Council the year prior), the Law and
                                                                                                          339




                    the public media, and the civil service in a campaign meant to dismantle existing checks and
                    balances while leaving the opposition and the general public little say.”340
                    the party’s leader, was thwarted on policy by the country’s Constitutional Tribunal a decade
                    prior as prime minister and immediately targeted it when PiS returned to power. The govern-
                    ment amended the law regulating the Tribunal and has refused to recognize its rulings.341

                    After only two months of PiS rule, the EU activated its new “pre-Article 7” procedure for Poland,
                    a “framework to safeguard the rule of law in the European Union” adopted by the European
                    Commission in March 2014.342 In December 2017, in the face of Warsaw’s intransigence,
                    the Commission moved to the “nuclear option” of invoking Article 7 itself.343 While this was



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an important step, the outcome is not yet clear, since a suspension of voting rights would
require unanimity among other member states and many expect Hungary would veto the
punishment of Poland.

Returning to power in Hungary in 2010 with a legislative supermajority, Prime Minister Viktor
Orbán’s party Fidesz was able to write and implement a new constitution without opposition
input and take legislative action to threaten the independence of the judiciary and the media.
The European Commission frequently expressed legal concerns and demanded changes via
its infringement process. Around the same time, the European Commission referred Hungary
                                                                 344
                                                                     amended in April 2017 in
what was broadly seen as an attack on Central European University, an American institution

Soros. In September 2018, the European Parliament triggered Article 7
against Hungary. Broadly speaking, Budapest has not ignored Brussels          European states are subject
but has made largely cosmetic adjustments.345 The potential effective-
ness of this step has also been blunted by European party politics, as the
                                                                              to a uniquely dense web
European People’s Party (EPP), of which Orbán’s Fidesz is a member, has       of regional institutions
helped shield Orbán from political recourse and is an obstacle to effective
                                                                              that aim to support
democracy protection in the EU.
                                                                              democracy with free and
A more successful example of the EU helping to check democratic back-         fair elections, rule of law,
sliding was in the case of Romania in 2012, when Victor Ponta of the
center-left Social Democratic Party took power as prime minister and          freedom of the press, and
                                                                    -         human rights.
tional checks on the impeachment procedure to ease the task. Issue
linkage increased Brussels’ leverage in Romania. The country remains
outside the Schengen Area and with Bulgaria is subject to post-accession monitoring via

accession to assess progress against corruption, organized crime, and judicial reform.346
Ponta complied with Commission and Council demands, including reinstating a 50-percent

miscalculation by Ponta;347 the opposition opted for a strategy of boycotting the referendum
that then failed to meet the 50-percent requirement.

Another promising example is the success that Polish courts have found in protecting the

and status, relying on EU law and the understanding that Polish courts are European courts.
For example, Polish legislation that would have lowered the retirement age of judges of the
                                                                                           348




The EU should also adopt rule of law conditionality for member states to receive struc-
tural funds. Conditionality should be imposed fairly across the EU, including in long-tenured
member states as well as those that joined in the 2004 and subsequent enlargements. An
alternative way to structure such measures to protect rule of law via the EU budget would be



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                                                            to link overall levels of EU funds provided to a member state
                                                            to a rule of law index, whereby states that score higher on
                                                            the index have greater access to funds. This would employ
                                                            an incentive process rather than a punitive approach.349 The

                                                            could be established according to rulings of the European
                                                            Court of Human Rights and with reference to the opinions of
                                                            the Council of Europe’s Venice Commission that has already
                                                            conducted reviews of numerous problematic policies in
                                                            Hungary and Poland.350



                                                            C. ADVANCING INSTITUTIONAL APPROACHES
                                                           European states are subject to a uniquely dense web of
                                                           regional institutions that aim to support democracy with
                                                           free and fair elections, rule of law, freedom of the press, and
                                                           human rights, including the Council of Europe (CoE), the
                                                           European Court of Human Rights, the European Commission
                                                           for Democracy through Law (Venice Commission), and the
                                                           Organization for Security and Co-operation in Europe (OSCE).
Jens Stoltenberg gives                                     These institutions produce reports and rulings that deter mis-
                            behavior by governments that fear reputational damage, but they lack strong enforcement
Brussels, Belgium.
                            mechanisms.351 This dynamic is evident in the fact that the OSCE includes governments
                            long considered to be more authoritarian than that of Turkey, including Azerbaijan, Belarus,
                            Kazakhstan (which has held the chairmanship of the organization),352 Kyrgyzstan, Russia,
                            Tajikistan, Turkmenistan, and Uzbekistan.353 Additionally, Azerbaijan and Russia are also part
                            of the Council of Europe despite their shaky democratic records.354

                            Nearly all European countries are members of the CoE and the OSCE. The OSCE contains

                            dimension” of security; conducts election monitoring; and works to strengthen democratic
                            governance, human rights, tolerance, and non-discrimination.355 CoE members are subject
                            to the European Court of Human Rights356 and the Venice Commission.357 Despite their weak
                            enforcement mechanisms, these institutions can still work in a deterrent capacity, urging
                            member states to heed rulings out of concern for the blow they would suffer to their positional




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D. BOLSTERING U.S. DIPLOMATIC AND ECONOMIC TOOLS
In the contemporary cases of democratic backsliding in Europe, the United States has a
mixed record of advancing democratic reforms. The Obama administration spoke out against
Hungary’s358
from entering the United States on suspicion of corruption.359 Poland was a sharper challenge
as a larger country more central to U.S. security and defense strategy in Europe and the host
of NATO’s 2016 Warsaw summit. Obama gently expressed concerns about Warsaw’s actions
against the rule of law and the need to work to “sustain Poland’s democratic institutions” in
public remarks with President Andrzej Duda; Polish public television mistranslated Obama
to remove the criticism.360

The Trump administration’s positions on illiberal governments have been less consistent
and at times enabling for regressing regimes. While President Obama’s speech on Warsaw’s
Castle Square in 2014 stressed democracy, this theme was conspicuously deemphasized
from President Trump’s speech there three years later in favor of Western civilization.361 In



Democracy is alive and well there. We leave questions of internal policy to the Poles and
trust that any reforms that they’re looking at are consistent with their constitution and the
will of their people.”362 However, on-the-record statements by then-Department spokeswoman
Heather Nauert were more critical.363 While Hungary was initially disappointed by a lack of
attention from Trump—whom Orbán had endorsed as a like-minded leader—Trump received
Orbán in the White House in May 2019 providing an endorsing effect in the run-up to the 2019
European Parliamentary Elections.364 Congress has remained more critical, particularly over
the Higher Education Law, which targeted an American university, but the Trump administra-
tion’s policy of engagement is lending credibility to the ruling governments in Hungary and
Poland.365 Moreover, the steady erosion of diplomatic capabilities within the U.S. Government
and the deprioritization of democracy and governance programming is clearly hurting U.S.
efforts. So too are President Trump’s attacks on the media, judges, political opposition, and
blatant use of racist rhetoric.

However, the United States still has important economic and diplomatic tools at its disposal
to advance democratic progress, if it has the political will. In terms of incentives, the U.S.,
along with other foreign governments, can leverage trade relations and potential economic
“carrots” including visa liberalization and customs union dialogues to encourage democratic
reforms. The inclusion of Poland in the U.S. Visa Waiver Program (a long-running sore point
in the relationship as Poland is one of few EU and NATO members not included) could be
used to incentivize rule of law improvements, for example.366




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                    Among punitive measures, tracking corruption and issuing targeted sanctions is one effective
                    tool. Foreign governments should coordinate with intelligence and diplomatic efforts to call
                    out governments on illicit practices and identify, seize, and track ill-gotten wealth. Additional
                    options include asset freezes and restrictions on the ability of corrupt or illiberal elites to
                    travel, purchase luxury goods, and send their children to private schools overseas. Travel
                    bans should include spouses, families, and supporters of regime elites.367

                    Sanctions, when applied appropriately, can be an effective tool. In current circumstances,

                    corrupt actors in Turkey, Hungary, and possibly Poland to communicate that corruption is
                    a transgression that Washington takes seriously. The sanctions should not be removed on
                                       political grounds.368 The private sector can also be effective in opening

Foreign governments                     can drive a wedge between authoritarian governments and economic
                                        elites. It is important to note, however, that unilateral sanctions or blanket
should coordinate                       sanctions that punish entire sections of a society tend to be less effec-
with intelligence and                   tive, allowing regimes to project themselves as defenders of the people
diplomatic efforts to call              against outside punishment.

out governments on illicit              In addition, transatlantic governments could consider imposing targeted
practices and identify,
                                      disinformation. In 2018, the U.S. administration provided for sanctions
seize, and track ill-gotten           against individuals and entities involved in operations to interfere in the
wealth.                               U.S. elections. This included individuals and companies that were part of
                                      the so-called “troll farm” in St. Petersburg that produced and distributed
                                      disinformation during the 2016 presidential elections. The United States
                    should work in coordination with democratic allies to expose disinformation operations by
                    foreign governments and sanction the entities involved in such operations.369

                    Finally, the U.S. government has the power to raise attention among domestic and international
                    audiences of transgressions against democracy and the rule of law. Congress, especially the
                    Senate Foreign Relations Committee and the House Foreign Affairs Committee, should hold
                    regular hearings on the state of democracy in Central and Eastern Europe. The purpose of
                    such hearings should be to raise awareness of the economic, political, and defense concerns
                    posed by illiberal regimes to U.S. national security interests in Europe, and to press the exec-
                    utive branch on its policies for countering democratic decline in these countries.370 The U.S.
                    Helsinki Commission—an independent government agency set up by Congress to monitor
                    European and Eurasian respect for human rights and fundamental freedoms—is another

                    committees work to maintain or increase foreign assistance.




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E. BETTER UTILIZING NATO PLATFORMS
NATO is another transatlantic venue that should be better utilized in responding to democratic
backsliding. While NATO as a military organization is not and should not be a leading actor in
addressing democracy challenges, it is an institution comprised of member states that have
committed to “strengthening their free institutions”371 and should therefore stand by those
principles whenever possible. Member states, foremost among them Turkey, Hungary, and
Poland, are experiencing democratic backsliding that is hurting, particularly in the case of
Turkey, alliance trust and interoperability. Democracy, individual liberty, and the rule of law are
founding principles of NATO. Democratic backsliding and corruption within member states not
only go against these principles, but also pose threats to shared security, and provide more
vulnerabilities for Russia and other adversaries to exploit. Allies therefore have a responsibility
to push back on such political developments.



that would be responsible for identifying violations of alliance principles. A more stringent
step would be revising NATO’s consensus voting rule in favor of a procedure that requires a

of illiberal states within NATO from shielding one another from attempts by other member
states to use NATO mechanisms to apply pressure for anti-democratic practices. At a mini-
mum, NATO should continue to bolster its communiqué language regarding the importance
of democracy to the strength of the alliance and should not hold summits or meetings in




   SECTION 2.4 KEY RESOURCES:

  • Burrows, Matthew J. and Maria J. Stephan, Bolstering Democracy: Lessons Learned and the
    Path Forward. Washington: The Atlantic Council, 2017.

  • Polyakova, Alina et al. The Anatomy of Illiberal States. Washington, DC: The Brookings
    Institution, 2019. https://www.brookings.edu/research/the-anatomy-of-illiberal-states.




                                                                                                      Democracy Playbook   69
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a roundtable meeting at the

in Brussels, Belgium.




                              5. Conclusion of section 2
                              This section examined the role foreign partners can play in supporting domestic pro-
                              democracy actors. We identify four best practices of engagement for national governments
                              and institutions, individual government officials, donor partners, and international institutions:
                              (1) partnering with domestic civil society and non-governmental organizations; (2) supporting

                              support. Throughout, we advocate for an indirect approach to democracy support that prior-
                              itizes empowering domestic actors.




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     Conclusion
                                                                                                                    -




T
       he battle for democracy is a long game, one that has been contested for centuries.
       The word itself (from demos, “common people” and kratos, “strength”) provides us the
       starting point for a playbook that aims to equip diverse groups and individuals with
strategies and tactics to strengthen democratic resilience, reverse regression, and fend off
authoritarian resurgence.


                                                                              To restore and strengthen
Czechoslovakia, Václav Havel captured the essence of why democracy is
a participatory game, one with responsibilities for a broad array of stake-   democracy’s vibrancy and
holders: “the best government in the world, the best parliament and the       resiliency, democratic
best president, cannot achieve much on their own. And it would be wrong
to expect a general remedy from them alone. Freedom and democracy
                                                                              actors must be prepared
include participation and therefore responsibility from us all.”372           to compete more
                                                                              effectively with would
We opened with a call for democratic actors to see this competition
between democracy and illiberalism as an urgent and unrelenting chal-         be authoritarians by
lenge, but a winnable one. To restore and strengthen democracy’s vibrancy     demonstrating that
and resiliency, democratic actors must be prepared to compete more
effectively with would be authoritarians by demonstrating that democ-         democracies best meet the
racies best meet the needs of their citizens. The Democracy Playbook          needs of their citizens.
distills strategic insights, drawn from social science research and case




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                    studies on the United States and Europe, and provides a broad set of methods and tactics
                    that can help democratic actors outmaneuver illiberal forces and strengthen the pillars of
                    liberal democracy.

                                                                                                                   -
                    lenges and proposing a set of strategies for the direct “players,” four major domestic actors
                    with the capacity to promote democracy within their own nations: the incumbent political
                    establishment; the political opposition; civil society and independent media; and private enter-

                    wield their power to hold leaders accountable and exercise all existing rights that can make a

                    are created equal; some are generally more effective than others.

                    Democratic nations of course exist in a contested global environment. To oversimplify the

                    states against the opposing illiberal model pushed by powerful states such as Russia and
                    China. External support from pro-democracy actors is thus critical, but must be comple-
                    mentary to internal democratic reform. In section 2 we provide a set of strategies and best
                                        practices for external actors to support pro-democracy actors on the
                                        ground. Lines of effort include: empowering and partnering with domes-
Mere capacity    for action             tic organizations; assisting nonviolent and civil resistance movements;
is insufficient. It is the
                                        and economic tools in order to incentivize democratic reforms; exposing
strength and willingness                the fraudulent and corrupt tactics of authoritarians; and, enhancing the
of the people to wield their            capacity and training of pro-democracy actors.

power to hold leaders                   Because there are varying amounts of free space to operate in backsliding
accountable and exercise                democracies, cross-cutting imperatives for both domestic and external

all existing rights that can            “plays” as early as possible. Ultimately, greater success will come from
make a difference.                      the concerted and interconnected efforts of diverse actors to push back
                                        on illiberal activity before it becomes entrenched.

                    Appearances matter to authoritarians. They seek to operate under a veneer of legality,
                    perverting their own justice system in incremental and underhanded ways. Similarly, they
                    seek to erode the credibility and capacity of international institutions to act as a bulwark

                    line of defense.

                    A shared reality for domestic and international actors is that technology has forever changed
                    the game of democracy. Elections are now increasingly complex and vulnerable to manipu-
                    lation—and the threats shift faster than we can identify them. We are only able to scratch the
                    surface of this topic; it merits its own playbook, ongoing research, and a far greater dedication




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be protected from interference. Technology enables incredible advances in democracy and

from internal and external manipulation. Technology is not a stand-alone component; it is
the connective tissue that can inform, connect, and mobilize voters. It can also misinform,
alienate, and undermine trust in democracy. Managing this tension and understanding how

for generations.

Another important area that deserves its own playbook—and has been a recurrent theme for
this report—is the issue of messaging; speaking to citizens in a way that earns their trust,

exposes the dangerous encroachments of authoritarians, and makes people feel respected.
Illiberals have been successful at using technology to better effect, channeling outrage and
stoking fear—in part because social media is designed to reward those messaging tactics.
Merely to blame social media is lazy—pro-democracy actors need to be self-critical, under-
stand where they have not delivered, and how they can do better. It may be that the liberal

high road by being truthful and inclusive in their messaging. But to resort to the toolkit of the
illiberals will only undermine pro-democracy efforts in the long run.

As we crafted this report, we consulted with leading experts in countries where democracy
is being threatened, and where there is an urgent need for dynamic strategies to resist the
illiberal toolkit. We unpacked strategies employed by domestic and international actors and
sought to discern when and where they might work best. Democracy is not perfect, but
it is the only political system that can legitimately hold governments accountable and, in
turn, provide a more peaceful and prosperous world. Moreover, people are at the heart of
democratic improvement. When it comes to defending democracies, each person matters,
as do the strategic decisions they make. Let each of us take our turn—the stakes have
seldom been higher.




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                    Endnotes


                         in democratic countries (democratic backsliding), breakdown of democracy, and worsening of
                                                                                               Democracy Facing
                         Global Challenges. V-Dem Annual Democracy Report 2019 (Gothenburg: V-Dem, May 2019),



                    2    Freedom House, Freedom in the World 2019 (Washington, DC: Freedom House, 2019), 4, https://


                    3    Larry Diamond, “The Global Crisis of Democracy,” Wall Street Journal, May 17, 2019, https://www.
                         wsj.com/articles/the-global-crisis-of-democracy-11558105463.

                                          Democracy Facing Global Challenges.

                    5    There is a robust debate among scholars over the extent and severity of the global democratic
                         recession. The current wave of autocratization is occurring within a relatively democratic era.
                         More than half of all countries in the world are considered democratic, and democratic progress
                         across parts of Asia and Africa means that globally, more people now live in democracies than

                         Lindberg, “A Third Wave of Autocratization is Here: What is New About it?” Democratization 26,
                         no. 7 (2019): 1096–1098.



                    7    Ibid.


                         Norman Eisen, and Andrew Kenealy, The Anatomy of Illiberal States: Assessing and Responding
                         to Democratic Decline in Turkey and Central Europe, (Washington, DC: The Brookings Institution,
                         February 2019), https://www.brookings.edu/wp-content/uploads/2019/02/illiberal-states-web.pdf.


                         of 28 EU Member States,” Independent, April 29, 2019, https://www.independent.co.uk/news/
                         world/europe/spain-elections-far-right-party-eu-member-states-vox-parliament-a8891706.html.

                    10
                         “Leveraging Transparency, Accountability, and Participation to Build Effective Anti-Corruption
                         Strategies in the Natural Resource Space,” (Washington, DC: The Brookings Institution,
                         forthcoming).

                    11   See, e.g., Andrea Kendall-Taylor and Alina Polyakova, “Populism and the Coming Era of Political
                         Paralysis in Europe,” Washington Post, May 24, 2019, https://www.washingtonpost.com/
                         opinions/2019/05/24/populism-coming-era-political-paralysis-europe.

                    12   See, e.g., Charles Tilly and Sidney Tarrow, Contentious Politics, 2nd ed. (Oxford: Oxford University
                         Press, 2015).

                    13   For scholarship on the importance of structural variables (and, in particular, authoritarian strength)
                         in explaining regime type see, e.g., Steven Levitsky and Lucan Way, Competitive Authoritarianism:
                         Hybrid Regimes After the Cold War (New York: Cambridge University Press, 2010).




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14   Christopher Carothers, “The Surprising Instability of Competitive Authoritarianism,” Journal of
     Democracy 29, no. 4 (October 2018): 129–135.

15   On the importance of incumbent political elites’ decisions, see, e.g., Steven Levitsky and Daniel
     Ziblatt, How Democracies Die (New York: Crown, 2018), and Scott Mainwaring and Aníbal Pérez-
     Liñan, Democracies and Dictatorship in Latin America: Emergence, Survival, and Fall (New York:
     Cambridge University Press, 2013); on political opposition see, e.g., Valerie Bunce and Sharon
     Wolchik, Defeating Authoritarian Leaders in Postcommunist Countries (New York: Cambridge
     University Press, 2011), and Laura Gamboa, “Opposition at the Margins: Strategies against the
     Erosion of Democracy in Colombia and Venezuela,” Comparative Politics
     457–477; on civil society and civil resistance, see, e.g., Stephen Haggard and Robert Kaufman,
     Dictators and Democrats: Masses, Elites, and Regime Change (Princeton: Princeton University
     Press, 2016); Marshall Ganz, Why David Sometimes Wins: Leadership, Organization, and Strategy
     in the California Farm Worker Movement (New York: Oxford University Press, 2009), and Erica
     Chenoweth and Maria Stephan, Why Civil Resistance Works: The Strategic Logic of Nonviolent
              (New York: Columbia University Press, 2011); and on the average citizen see, e.g.,
     Timothy Snyder, On Tyranny: Twenty Lessons from the Twentieth Century (New York: Crown,
     2017). There is also evolving literature describing the structural causes of democratic backslid-
     ing. See, e.g., David Andersen, “Comparative Democratization and Democratic Backsliding: The
     Case for a Historical-Institutional Approach,” Comparative Politics 51, no. 4 (2019): 645–663.
     However, the solutions to these structural determinants are debatable and beyond the more
     immediate and actionable focus of this playbook.

16   Larry Diamond, In Search of Democracy (New York: Routledge, 2016), 3.

17   Consider voter suppression policies in the United States, such as heightened voter-ID
     requirements, automatic voter roll purging, and frequent changes to polling locations that all
     disproportionately affect people of color and students. These policies tend to disfavor one of
     the major political parties over the other.

18   Andrew Kenealy, Norman Eisen, and Darrell West, “A Perilous Election Looms,”
     The Brookings Institution, October 22, 2018, https://www.brookings.edu/blog/


19   Michael Birnbaum and Craig Timberg, “E.U.: Russians Interfered in Our Elections, Too,”
     Washington Post
     eu-russians-interfered-our-elections-too.

20   Kenealy, Eisen, and West, “A Perilous Election.”

21   Alina Polyakova and Spencer P. Boyer, The Future of Political Warfare: Russia, the West, and the
     Coming Age of Global Digital Competition (Washington, DC: The Brookings Institution, 2018),
                                                                                                    -
     fare.pdf.

22   E.g., Kedron Bardwell, “Campaign Finance Laws and the Competition for Spending in
     Gubernatorial Elections,” Social Science Quarterly 84, no. 4 (2003): 811–825; Kihong Eom and
     Donald A. Gross, “Contribution Limits and Disparity in Contributions Between Gubernatorial
     Candidates,” Political Research Quarterly 59, no. 1 (2006): 99–110; Donald Gross and Robert
     K. Goidel, “The Impact of State Campaign Finance Laws,” State Politics & Policy Quarterly 1,
     no. 2 (2001): 180–195; Robert E. Hogan, “The Costs of Representation in State Legislatures:
     Explaining Variations in Campaign Spending,” Social Science Quarterly 81, no. 5 (2000):
     941–956; and Patrick Flavin, “Campaign Finance Laws, Policy Outcomes, and Political Equality
     in the American States,” Political Research Quarterly 68, no. 1 (2015): 77–88.




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                    23   Levitsky and Ziblatt, How Democracies Die, 48–49. For instance, at the Democratic National
                         Convention of 1968, Hubert Humphrey won the presidential nomination despite not par-
                         ticipating in any primaries, due to the preference and power of party insiders. Humphrey’s
                         controversial nomination led to protests outside the convention, and his presidential loss led to
                         reforms for a more democratic nomination system.

                    24   Frances McCall Rosenbluth and Ian Shapiro, Responsible Parties: Saving Democracy from Itself
                         (New Haven, CT: Yale University Press, 2018), 123-124; Bruce Bueno de Mesquita and Alastair
                         Smith, The Dictator’s Handbook: Why Bad Behavior is Almost Always Good Politics (New York:
                         Public Affairs, 2011), 66.

                    25   Fabio Wolkenstein, “Deliberative Democracy Within Parties” (PhD diss., London School of
                         Economics and Political Science, 2016), 3.

                    26   Levitsky and Ziblatt, How Democracies Die, 106–117.

                    27   Ibid., 106–111.

                    28   Robert Axelrod, The Evolution of Cooperation (New York: Basic Books, 2006).

                    29   Levitsky and Ziblatt, How Democracies Die, 112–113.

                    30   Mark Tushnet, “Constitutional Hardball,” The John Marshall Law Review 37 (2004): 523–553.

                    31   Levitsky and Ziblatt, How Democracies Die, 109–111. In jurisdictions where constitutionally per-
                         missible, further legal mechanisms may be used to respond to extreme behavior by sanctioning
                         or disqualifying candidates or parties from elections without deeming them illegal or uncon-
                         stitutional. Such sanctions can be used to allow illiberal political parties to continue operating
                                                                                                                            -
                         ing on the context, but can be effective given an enabling environment. See Svetlana Tylkina,
                         Militant Democracy: Undemocratic Political Parties and Beyond (New York: Routledge, 2015).

                    32   Hana de Goeij and Marc Santora, “In the Largest Protests in Decades, Czechs Demand
                         Resignation of Prime Minister,” New York Times
                         com/2019/06/23/world/europe/czech-republic-protests-andrej-babis.html.

                    33   Polyakova et al., The Anatomy of Illiberal States.

                    34   Levitsky and Ziblatt, How Democracies Die, 102.

                    35   Ibid., 104.

                    36   Much scholarship has focused on the “inclusion-moderation” thesis, which holds that inclusion
                         in political processes can serve to moderate radical or extremist groups. Recent work, particu-
                         larly in the wake of the Arab Spring, suggests that this approach depends on contextual factors,
                         and there is little consensus regarding which strategies are effective. This subject requires

                         Become Moderates? Rethinking the Inclusion-Moderation Nexus,” World Politics 63, no. 2 (April
                         2011): 347–376.

                    37   Levitsky and Ziblatt, How Democracies Die, 11–32. We acknowledge that there are exceptions to
                         this rule, such as the populist Progress Party’s place in the coalition government in Norway. We
                         nevertheless offer the following typology for identifying prospective authoritarians as a guide
                         for when and how to exclude extremist leaders.

                    38   Elisabeth Zerofsky, “Viktor Orbán’s Far Right Vision for Europe,” The New Yorker

                         viktor-orbans-far-right-vision-for-europe.



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39                                                  The Anatomy of Illiberal States, 13–15.

40              The Breakdown of Democratic Regimes: Crisis, Breakdown, and Reequilibration


41   Levitsky and Ziblatt, How Democracies Die, 23–24.

42   Ibid., 24–26.

43   Political parties and leaders also have a responsibility to educate their constituencies and the
                                                                                                  -
     ian-leaning politicians. Their efforts should further be complemented by a public education

     Democracy Back in Public Education,” The Century Foundation, November 16, 2016, https://tcf.
     org/content/report/putting-democracy-back-public-education/?session=1.

44   Zack Beauchamp, “Macron vs. Le Pen: The French Presidential Election, Explained,” Vox, May 6,
     2017, https://www.vox.com/world/2017/5/5/15543294/french-election-macron-le-pen.

45   Cristóbal Rovira Kaltwasser and Paul Taggart, “Dealing with Populists in Government: A
     Framework for Analysis,” Democratization 23, no. 2 (2016): 201–220.

46
     Conceptual Analysis,” The American Journal of Comparative Law 44, no. 4 (Autumn 1996):
     605–626.

47   Richard Stacey and Sujit Choudhry, “International Standards for the Independence of the
               The Center for Constitutional Transitions at NYU Law and Democracy Reporting
                                 September 2013, https://papers.ssrn.com/sol3/papers.


48   Kim Lane Scheppele, “The Rule of Law and the Frankenstate: Why Governance Checklists Do
     Not Work,” Governance 26, no. 4 (2013): 559–562.

49   Kim Lane Scheppele, “Autocratic Legalism,” The University of Chicago Law Review 85, no. 2
     (2018): 545–583.

50
     Strengthening Judicial Independence and Impartiality as a Pre-Condition for the Rule of Law
     in Council of Europe Member States: Opening and Concluding Remarks, Key Speeches and
     General Rapporteur‘s Report, April 21-22, 2016, 27, https://rm.coe.int/proceedings-of-the-confer-
     ence-on-strengthening-judicial-independence-s/16808b64d4, 27.

51   Ibid.

52                                                                                Journal of
     Democracy 27, no. 3 (2016): 74.

53                                                     Human Rights First,


54

55   Ibid.

56                                                                              BTI 2016: Poland
     Country Report                                                                                -




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                    57   Hungary is another place where the judiciary faces attacks on independence. The Fidesz party
                         has “drastically revised the Hungarian constitutional and political order by systematically dis-

                         73). The revisions have systematically targeted institutional independence and turned the
                         judiciary into a political tool. From 2010 to 2015, for example, Prime Minister Viktor Orbán and


                         invoking past precedents in new cases (Ibid.). More recently, Orbán’s government created a sep-
                         arate administrative court to handle cases touching on elections, asylum, right to assembly, and
                                                                                                Human Rights Watch,
                         December 14, 2018, https://www.hrw.org/news/2018/12/14/hungarys-latest-assault-judiciary).

                         any effective judicial oversight.” Critics of the law have warned of its “enormous potential to
                         control the workings of judges and the courts” (Ibid.).

                    58
                         Council of Europe, April 13, 2016, https://rm.coe.int/1680700125.

                    59   Ibid., 19–24.

                    60   E.g., Catharina Lindstedt and Daniel Naurin, “Transparency is Not Enough: Making Transparency
                         Effective in Reducing Corruption,” International Political Science Review
                         301–322.

                    61
                         Trust: Evidence from a Field Experiment,” Public Administration 93, no. 4 (2015): 995–1011.

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